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          MICHAEL JAY BERGER (State Bar # 100291)
      1   LAW OFFICES OF MICHAEL JAY BERGER
      2   9454 Wilshire Blvd 6th Floor
          Beverly Hills, CA 902 12-2929
      3   Telephone:     (310)271-6223
          Facsimile:     (310) 271-9805
      4   E-mail:       michael.bergerbankruptcypower.com

          Proposed Counsel for Debtor and Debtor-in-Possession,
      6   Mr. Tortilla, Inc.

      7                             UNITED STATES BANKRUPTCY COURT

      8                               CENTRAL DISTRICT OF CALIFORNIA

                                       SAN FERNANDO VALLEY DIVISION
10
                                                           )   CASENO.: 1:24-bk-10228-VK
          Inre:                                            )
                                                           ) Chapter 11
12                                                        )
          Mr. Tortilla, Inc.,                             )    DEBTOR’S MOTION FOR AN ORDER
 1I                                                       )    AUTHORIZING DEBTOR TO SATISFY
                                                          )    PRE-PETITION CLAIMS OF CRITICAL
14                Debtor and Debtor-in-Possession.        )    VENDOR AMAZON.COM SERVICES,
                                                          )    LLC NECESSARY FOR DEBTOR’S
15
                                                          )    CONTINUED BUSINESS OPERATION;
                                                          )    DECLARATION OF ANTHONY
16                                                        3
                                                          )
                                                               ALCAZAR IN SUPPORT THEREOF
                                                               [LBR 9075-1(b)j
17                                                             Application Selling Hearing on Shortened
                                                               Notice is filed concurrently with this motion
18

19                                                        3
                                                          )
                                                               Hearing Scheduled For:
                                                               Date: TBD
20                                                        )    Time: TBD
                                                          )    Place: TBD
21
                                                          3
22
                                                          3
23
                  TO THE HONORABLE VICTORIA S. KAUFMAN, JUDGE OF THE UNITED
24
          STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA, THE
25
          OFFICE OF THE UNITED STATES TRUSTEE, TO THE SECURED CREDITOR, TO
26

27                                                         1
             DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
             AMAZON COM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION: DECLARATION OF
                                         ANTI-IONY ALCAZAR IN SUPPORT THEREOF
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     1    THE TWENTY LARGEST UNSECURED CREDITORS, AND TO ALL INTERESTED

     2    PARTIES AND THEIR COUNSEL OF RECORD:

     3
                             MEMORANDUM OF POINTS AND AUTHORITIES
    4
                                               I.    INTRODUCTION
    5
                 Mr. Tortilla, Inc., the Debtor and Debtor in Possession herein (‘Debtor”), in the above-
    6
         captioned Chapter 11 case hereby moves this Court, on a shortened notice, for entry of an order

         authorizing it, but not requiring it, to satisfy Amazon.com Services, LLC’s (“Amazon”, or the
    8
         “Critical Vendor”) prepetition claims in order for the Debtor to be able to continue to transact

         business with Amazon without any interruption to its business.
10
                 The pre-petition claims of Amazon include:

                 (a) Amazon’s pre-petition incurred advertising, delivery, service charges, taxes, contract
12
         discounts, adjustments, and other amounts (“Amazon Vendor Fees”) pursuant to Amazon
1
         Vendor Terms and Conditions (“Vendor Contract”) not exceeding 19%. These charges are
14
         ordinarily deducted in the ordinary course of business from invoice payments for the sale of the
15
         Debtor’s inventory to Amazon.
16
                (b) Amazon’s pre-petition incurred advertising, delivery, service charges, taxes, and other
17
         amounts (“Amazon Fees”) pursuant to the governing Amazon Business Solutions Agreement
18
         (the “BSA”) governing the seller account relationship between the Debtor and Amazon. These
19
         charges are ordinarily deducted from proceeds of the sales of the Debtor’s inventory in the
20
         ordinary course of business between the Debtor and Amazon. Debtor has two separate accounts
21
         that are subject to the terms of the BSA: the US Amazon account and the Canada Amazon
22
         account. As of the petition date, the Debtor owes Amazon approximately $40,515.89 related to
23
         the US Amazon account. As of the petition date, the Debtor’s Canada Amazon account a
24
         balance due to the Debtor of approximately $48,221.40. The US Amazon account and Canada
25
         Amazon account are separate from each other. There will not be any deduction of fees owed on
26

27                                                        2
            DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
            AMAZON COM SERVICES, LLC NECESSARY FOR DEBTORS CONTINUED BUSINESS OPERATION: DECLARAIION OF
                                        ANTHONY ALCAZAR IN SUIPORT THEREOF
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     1    the US Amazon account from the Canada Amazon account. Specifically, for the Canada Amazon
     2    account, Amazon will only deduct the Amazon Fees related to the Canada Amazon account. For

     3   the US Amazon account, Amazon will only deduct the Amazon Fees related to the US Amazon

 4       account plus an additional $1,000.00 every month to be applied toward the $40,515.89 pre

     5   petition outstanding balance until paid in full. Amazon will not withhold any amount in addition

 6       to the monthly $1,000.00 from the US Amazon account to reducing the $40,515.89 pre-petition

 7       balance.

 8               If the Debtor’s ability to sell its products on Amazon and to transact business with

 9       Amazon is terminated or interrupted in any way, the Debtor’s business will be paralyzed, which

10       will cause great reduction in Debtor’s revenue and hence, the inability of Debtor to propose a

11       successful reorganization plan. The sales through Amazon’s purchase orders and Amazon’s

12       online retail portals comprise roughly 62% of Debtor’s total revenue. Amazon issues an order

13       for Debtor’s tortilla products every Sunday, which takes the Debtor approximately 5 days to

14       fulfill. Without the continued revenue from Amazon, Debtor will not be able to afford the

15       materials to fulfill the weekly Amazon orders, leading to negative reviews of Debtor’s products

16       and drastically reduced sales. This in turn would result in a huge loss of income for the Debtor,

17       which Debtor needs in order to stay in business and generate income to fund its Plan of

18       Reorganization.

19              The nature of Debtor’s business operation is critically dependent on maintaining a good

20       relationship with Amazon and is extremely time-sensitive. Debtor sells most of its tortilla

21       products to Amazon. Amazon disburses funds to the Debtor on a bi-weekly basis. Due to the

22       timing of the Debtor’s bankruptcy filing, part of the Amazon Fees that Amazon normally

23       automatically deducts from the funds before issuing payments to Debtor include charges that

24       were incurred pre-petition. However, because of the pending bankruptcy, Amazon is not

25       allowed to deduct and apply payments toward pre-petition incurred expenses. Absent this

26       Court’s order authorizing Amazon to deduct the Amazon Fees for the pre-petition period, it will

27                                                        3
            DEBTOR’S MOTION FOR AN ORDER AUTHORIZiNG DEBIOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
            AMAZONCOM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION; DECLARATION OF
                                        ANTHONY ALCAZAR IN SUPPORT THEREOF
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     1    need to administratively freeze sufficient funds in the Seller Account and retain a reserve to

     2    preserve its recoupment rights on the vendor payables, causing cash flow problems for the

     3    Debtor. Thus, Debtor asks this Court to allow Amazon to deduct Amazon Fees certain of which

  4       have been incurred prepetition from the Seller Account proceeds and to deduct from invoice

     5   payments on the vendor payables, in order to allow the Debtor to continue to run its business

 6       without any hold on Debtor’s Amazon accounts.

 7               This Motion is based on the facts and law stated herein, the Declaration of Anthony

 8       Alcazar, all arguments and evidence that may be submitted at the hearing on the Motion, and

 9       such other papers and evidence of record as the Court may consider.

10               The statutory predicate for the relief requested in this Motion is Bankruptcy Code

11       sections 105(a), 363(c), and 503(b)(9), Federal Rules of Bankruptcy Procedure 6003(b) and

12       6004(h), and Local Bankruptcy Rule 9014-5.

13
                                          II. FACTUAL BANKGROUND
14               A.        General Description of the Debtor
15               The Debtor commenced its Chapter 11 bankruptcy case on February 14. 2024 (the
16       “Petition Date”). The Debtor has one prior chapter 11 bankruptcy case filed on August 14, 2018
17       in the Central District Bankruptcy Court, Case No.: I :18-bk-12051-VK, in which case the Debtor
18       was able to confirm a reorganization plan on April 14, 2020.
19               The Debtor is a California corporation which is wholly owned by brothers Anthony
20       Alcazar and Ronald Alcazar. The Debtor owns and operates a tortilla manufacturing and food
21       processing business located in San Fernando    --   Mr. Tortilla--which was started in 2012.
22       Anthony owns 81% of the shares and is the President and CEO. Ronald owns 19% of the shares
23       and is the CFO.
24              The Debtor specializes in preparing traditional flour tortillas that are low fat, low calorie,
25       low sodium and are free of cholesterol and trans-fat; the tortillas are unique as they are flexible
26

27                                                           4
             DEBTORS MOTION FOR AN ORDER AUTHORIZING DEBTOR 10 PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
            AMAZONCOM SERVICES. LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION: DECLARATION OF
                                         ANTHONY ALCAZAR IN SUIIORT THEREOF
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     1    and do not break or stick. In addition to traditional flour tortillas, Debtor produces low-

     2    carbohydrate tortillas for low-carb and keto dieters.

     3           The Alcazar Brothers decided to start Mr. Tortilla as one of their fondest childhood

     4    memories is that of their mother preparing flour tortillas on a flat griddle called a comal. The

     5    Debtor sells its tortillas to distributors and wrap manufacturers, and through online retailers such

     6    as Amazon.com and others. Debtor’s product is the top selling tortilla on Amazon.com.
 7               13.     Events Precipitating the Chapter 11 Bankruptcy Filing

 8               The events precipitating the Debtor’s current Chapter 11 bankruptcy include Debtor’s

 9       affiliated vendors, such as 8Fig, Inc., intercepting the Debtor’s receivables. These vendors

10       blocked the Debtor’s Shopify and Amazon income, greatly reducing Debtor’s revenues. The

11       Debtor filed the current Chapter 11 Bankruptcy to regain access to its receivables, and to

12       continue to operate and to pay its creditors.

13               C.      Amazon Vendor Terms and Conditions (“Vendor Contract”)

14               Amazon.com Services, LLC on one hand, and the Debtor on the other, are parties to the

15       Vendor Terms and Conditions and related agreements, understandings, terms and conditions, and

16       purchase orders (collectively, the “Vendor Contract”). A true and correct copy of the Vendor
17       Contract is attached to the Declaration of Anthony Alcazar as Exhibit-i. The Vendor Contract

18       governs the terms under which Amazon purchases products directly from the Debtor. The

19       Vendor Contract permits, among other things, Amazon to cancel purchase orders, return product,

20       and deduct and net, from amounts owed to the Debtor various credits authorized thereunder. The

21       Vendor Contract provides that co-op. allowances, discounts, rebates, marketing. and other credits

22       are set forth in Amazon’s program policies or in separate agreements, each of which is
23       incorporated into the Vendor Contract and each of which may be deducted from vendor

24       payables.

25              Pursuant to the terms of the Vendor Contract, prior to the filing of the present bankruptcy

26       case, Amazon was authorized to deduct from payments to the Debtor credits, fees, expenses, and
27                                                         5
            DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
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     1    other charges from the Debtor’s payments on invoices and remit, to the Debtor, the Debtor’s net

     2    invoice amounts. There are certain outstanding pre-petition fees, expenses and other charges

     3    incurred by Amazon which Amazon is not able to deduct absent further order from the

     4    Bankruptcy Court, thus necessitating the filing of this motion.

     5            D.      Amazon Business Solutions Agreement (the “BSA”)

     6            The Debtor conducts its own sales through the Amazon.com online store (the “Amazon

 7        Store”). Amazon and the Debtor are parties to the Business Solutions Agreement (the “.SA”)

 8       which governs the Debtor’s ability to sell products to customers on the Amazon Store. A true

 9       and correct copy of the BSA is attached to the Declaration of Anthony Alcazar as Exhibit-2.

10               According to the terms of the BSA, the Debtor’s sale proceeds are held in Amazon seller

11       accounts (a United States Seller Account and a Canada Seller Account, collectively the “Seller

12       Accounts”). Under the terms of the BSA, Amazon is authorized to net fees, expenses, and

13       reimbursements from the Debtor’s sale proceeds and remit, to the Debtor’s bank account, the

14       Debtor’s net proceeds. There are certain outstanding pre-petition fees, expenses and other

15       charges incurred by Amazon which Amazon is not able to deduct absent further order from the

16       Bankruptcy Court, thus necessitating the filing of this motion.

17                          III.    NEED FOR RELIEF ON SHORTENED NOTICE

18               The Debtor seeks the relief requested by the Motion on a shortened notice because it

19       needs to maintain the ongoing operation of the Amazon Store and maintain its vendor

20       relationship with Amazon to stay in operation. The deduction of fees from the seller account and

21       from vendor payables is largely an automated process for Amazon and disruption of the

22       automated processes to require manual analysis and payment of prepetition payables will require

23       Amazon to temporarily administratively freeze Debtor’s Seller account and establish reserves

24       until an order from the Bankruptcy Court authorizing Amazon to satisfy the pre-petition Amazon
25       Fees. The ability of the Debtor to timely fulfill and deliver its tortilla product to customers,
26       including Amazon, is crucial to the Debtor’s continued business operations. For that reason, the
27                                                         6
             DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
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     1    Debtor seeks permission to allow Amazon to deduct in the ordinary course of business from the

     2    gross proceeds for both the Amazon Seller Accounts and Amazon Vendor accounts the required

     3    amounts pursuant to the Vendor Contract and BSA Agreement for the prepetition amounts owed

     4    to ensure that Amazon will continue to conduct business with the Debtor and allow the timely

     5    processing of payment for prepetition sales. The relief in this motion will resolve concerns that

     6    Amazon has due to the Debtor’s bankruptcy filing and will allow the Debtor to maintain the

     7    •‘business as usual” relationship with these parties and enable the Debtor to stay operational

     8   during the bankruptcy case.

  9                                              IV. ARGUMENT

 10              A. The Bankruptcy Code and Case Law Authorize Operating Debtor to Pay Pre
11                                     Petition Claims of Critical Vendor
                 There are four primary and separate bases for approving payments to critical vendors to
12
         enable the survival of an operating chapter 11 debtor.
13
                 First, Federal Rule of Bankruptcy Procedure 6003(b) contemplates that bankruptcy courts
14
         may issue order authorizing debtors “10 pay all or part of a claim that arose before the filing of
15
         the petition” if the relief is “necessary to avoid immediate and irreparable harm.” Court have thus
16
         interpreted this rule as authorizing payments of pre-petition claims to critical vendors. in re
17
         Humboldt C’reamery, LLC, 2009 Bankr. LEXIS 2477 at *3, n.2 (Bankr. N.D. Cal. Apr. 23, 2009)
18
         (“Nothing in the Bankruptcy Code forbids payment on a prepetition debt before confirmation of
19
         a plan, and Rule 6003(b) specifically contemplates such payments.”).
20
                 Second, to the extent a claim is entitled to administrative priority, such a claim for the
21
         value of goods received by the Debtor within the 20-day period prior to the Petition Date which
22
         enjoys administrative priority under Bankruptcy Code section 503(b)(9), bankruptcy courts have
23
         the discretion to allow those payments to be made prior to plan confirmation. See, in re Garden
24
         Ridge Corp., 323 B.R. 136, 143 (Bankr. D. Del. 2005) (“Courts have discretion to determine
25
         when an administrative expense will be paid.”).
26

27                                                         7
            DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
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     1           Third, Bankruptcy Code section 363(b)(1) provides that “[t]he trustee, after notice and

 2       hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

 3       estate.” 11 U.S.C. § 363(b)(l). Court have interpreted that statute to authorize the payment of

 4       prepetition claims to critical vendors. See, e.g. In re Ionosphere Clubs, Inc., 98 BR. 174, 185

 5       (Bankr. S.D.N.Y. 1989) (court authorized debtor to pay pre-petition wages under 363(b) when

 6       debtor “articulated sound business reasons” for doing do, showing that it was critical for it to

 7       pay such pre-petition claims in order to preserve and protect its business and ultimately

 8       reorganize.”). In addition to Section 363(b), some courts have also approved critical vendor

 9       payments under Section 363(c). See, In re James A. Phillips, Inc., 29 B.R. 391, 397 (S.D.N.Y.

10       1983)(court relied on section 363(c)(l) to authorize debtor-contractor to pay prepetition claims

11       of suppliers who had potential lien claims in the ordinary course, since the filing of the lien

12       claims threatened to stop work on debtor’s project).

13               Fourth, Bankruptcy Code section 105 codifies the inherent equitable powers of the

14       bankruptcy court, and empowers the court to “issue any order, process, or judgment that is

15       necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). Courts

16       interpreting Section 105(a) have developed a “necessity of payment” rule which holds that

17       bankruptcy courts have the ability to authorize the debtor’s payment of prepetition obligations

18       when necessary to the continued operation of the debtor’s business. This rule was first

19       announced by the United States Supreme Court in Miltenberger v. Logansports, C & S. W. R. Co.,

20       106 U.S. 286, 3 10-12 (1882) (holding that consistent with a receiver’s duty to “protect and

21       preserve the trust funds” in the receivership estate, “[m]any circumstances may exist which make

22       it necessary and indispensable to the business.., and the preservation of the property, for the

23       receiver to pay pre-existing debts... out of the earnings of the [debtor]... under the orders of the

24       court.”). The doctrine was first applied in railroad reorganizations but later expanded to all

25       manners of business reorganizations. See, Dudley v. Mealey, 147 F.2d 268, 271 (2d Cir.

26       1945)(Learned Hand, J.)(first expanding the doctrine beyond railroads to a hotel reorganization,

27                                                         8
             DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
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     1   the court stated “Let it [a hotel] once be shut down, and it will lose much of its value... Some

 2       priority [to the hotel’s prepetition suppliers] may be essential to the [preservation] of the

     3   business.”). See and, In re Ionosphere Clubs, Inc., 98 BR. at 176 (discussing the necessity of

 4       payment rule under section 105(a) as a separate basis from section 262(b) for approval of a

 5       payment of a prepetition creditor’s claim). The necessity of payment rule is the strongest in the

 6       Third Circuit, but continues to be applied in other jurisdictions as well. in re Lehigh & New

 7       England Railway Co., 657 F.2d 570, 281 (3d. Cir. 1981) (“[T]he necessity of payment

 8       doctrine... [permits] immediate payment of claims of creditors where those creditors will not

 9       supply services or materials essential to the conduct of the business under their pre

10       reorganization claims shall have been paid.”) (quoting In re Penn Central Transp. Co., 467 F.2d

11       100, 102, n.1 (3d Cir, 1972); In re Just/or Fee, Inc., 242 B.R. 821, 824-26 (D. Del. 1999)

12       (noting that debtors may pay prepetition claims that are essential to the continued operation of

13       the debtor’s business); In re Columbia Gas Sys., Inc., 171 B.R. 189, 191-92 (Bankr. D. Del.

14       1994) (same); In re Quality Interiors, inc., 127 B.R. 391, 396 (Bankr. N.D. Ohio 1991)

15       (following doctrine); in re Chateaugay Corp., 80 B.R. 279,287 (S.D.N.Y. 1987) (following

16       doctrine).

17               In the Ninth Circuit, courts have approved critical vendor payments under Rule 6003(b)

18       and under the theory that an administrative claim may be paid early. See, In re Humboldt

19       Creamery, LLC, 2009 Bankr. LEXIS 2477 at *3.4 (Bankr. N.D. Cal. Apr. 23, 2009) (authorizing

20       debtor, which operated a creamery, to pay pre-petition claims of milkmen that would be entitled

21       to priority under Bankruptcy Code section 503(b)(9)). The Humboldt Creamery court reasoned

22       that: “[n]othing in the Bankruptcy Code forbids payment on a prepetition debt before

23       confirmation of a plan, and Rule 6003(b) specifically contemplates such payments. The court

24       concludes that prepetition debt, and especially a priority debt, may be paid before confirmation if

25       in the best interests of the estate.” Id. *3, n.2. There have not been cases in the Ninth Circuit

26       expressly deciding whether 363(b) is a sufficient, stand-alone justification for payment of the

27                                                         9
             DEBTORS MOTION FOR AN ORDER AUTHORIZING DEBTOR TO IAY PRE-PETITION CLAIMS OF CRIIICAL VENDOR
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     1   pre-petition claim of a critical vendor. As to the necessity of payment rule, there have been

     2   Ninth Circuit cases both approving and disapproving the doctrine. Compare In re Adams Apple,

     3   Inc., 829 F.2d 1484, 1490 (9th Cir. 1987) (Noting with approval that “[ cjases have permitted

 4       unequal treatment of pre-petition debts when necessary for rehabilitation, in such contexts as

 5       debts to providers of unique and irreplaceable supplies    ...   “) iith In re B&WEnterprises, Inc.,

 6       713 F.2d 534,537 (9 Cir. 1983) (‘The Necessity of Payment Rule was created for and has been

 7       applied only to railroad cases. Absent compelling reasons, we deem it unwise to tamper with the

 8       statutory priority scheme devised by Congress in the 1978 Act.”).

 9
               B. This Court Should Authorize, But Not Require, Amazon to Deduct Amazon Fees
10
                          For Pre-Petition Period Under the Necessity of Payment Rule
11
                 Payment is warranted for several reasons. First, if Amazon ceases to issue purchase
12
         orders to the Debtor, the Debtor’s business will be paralyzed. Sales through Amazon’s online
13
         retail portals comprise roughly 62% of Debtor’s total revenue. Amazon issues an order for
14
         Debtor’s tortilla products every Sunday, which takes the Debtor approximately 5 days to fulfill.
15
         Without the continued revenue from Amazon, Debtor will not be able to afford the materials to
16
         fulfill the weekly Amazon orders, leading to negative reviews of Debtor’s products and
17
         drastically reduced sales. All of the aforementioned would result in a huge loss of income for the
18
         Debtor, which Debtor needs to fund its Plan of Reorganization.
19
                 It is clear from the above that the ability to pay the prepetition Amazon Fees is needed “to
20
         avoid immediate and irreparable harm.” For similar reasons, to the extent the necessity of
21
         payment rule applies in the Ninth Circuit, it would be satisfied because the services that Amazon
22
         provide are “essential to the conduct of the business” of the Debtor. As such, payment of
23
         prepetition Amazon Fees is in the best interest of the estate and all creditors.
24
                The Debtor simply cannot afford any disruption in its ability fulfill Amazon’s product
25
         orders. The need to maintain the status quo with Amazon by paying pre-petition balances is thus
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27                                                         10
             DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAl. VENDOR
            AMAZONCOM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION: DECLARATION OF
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     1   authorized under Rule 6003(b), since doing so would avoid irreparable harm that would result to

     2   the Debtor’s business. To the extent the necessity of payment doctrine applies, it would support

     3   paying the pre-petition claims of Amazon since the ability to fulfill orders and sell products

 4       pursuant to the Critical Vendor’s agreements is “essential” to the Debtor’s business operations.

 5                                              IV.      CONCLUSION

 6               Wherefore, for the reasons set forth above, this Motion should be granted, and the Court

 7       should enter an order authorizing, but not directing, the Debtor to satisfy the prepetition claims

 8       of Amazon by allowing Amazon to deduct such amounts from seller account proceeds or vendor

 9       payables, and for any other relief deemed necessary and proper.

10
                                                         LAW OFFICES OF MICHAEL JAY BERGER
11

12

13       Dated: 3/1/2024                           By:    /5/ Michael Jay Berger
                                                         Michael Jay Berger
14                                                       Proposed Counsel for Debtor
                                                         Mr. Tortilla, Inc.
15

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            DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
           AMAZONCOM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION DECLARATION OF
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     1                             DECLARATION OF ANTHONY ALCAZAR

     2           I, Anthony Alcazar, declare and state as follows:

     3            1.     1 am the principal and the Chief Executive Officer of Mr. Tortilla, Inc., the debtor

 4       and debtor-in-possession in the above-captioned matter (the “Debtor”). I have personal

     5   knowledge of the facts set forth below and if called to testify as to those facts, I could and would

 6       competently do so.

 7               2.      I make this declaration in support of Debtor’s Motion for Order Authorizing

 8       Debtor to Pay Pre-Petition Claims of Certain Critical Vendors Necessary for its Continued

 9       Operation (the “Motion”).

10               3.      The Debtor commenced its Chapter 11 bankruptcy case on February 14, 2024 (the

11       “Petition Date”). The Debtor has one prior chapter 11 bankruptcy case filed on August 14, 2018

12       in the Central District Bankruptcy Court, Case No.: 1:1 8-bk- 1205 1 -VK, in which case the Debtor

13       was able to confirm a reorganization plan on April 14, 2020.

14               4.      The Debtor is a California corporation which is wholly owned by myself and my
15       brother Ronald Alcazar. The Debtor owns and operates a tortilla manufacturing and food

16       processing business located in San Fernando --Mr. Tortilla--which was started in 2012. 1 own

17       81 % of the shares and is the President and CEO. Ronald owns 19% of the shares and is the CFO.

18               5.      The Debtor specializes in preparing traditional flour tortillas that are low fat, low

19       calorie, low sodium and are free of cholesterol and trans-fat; the tortillas are unique as they are

20       flexible and do not break or stick. In addition to traditional flour tortillas, Debtor produces low-

21       carbohydrate tortillas for low-carb and keto dieters.

22              6.      My brother and I decided to start Mr. Tortilla as one of our fondest childhood

23       memories is that of our mother preparing flour tortillas on a flat griddle called a comal. The

24       Debtor sells its tortillas to distributors and wrap manufacturers, and through online retailers such

25       as Amazon.com and others. Debtor’s product is the top selling tortilla on Arnazon.corn.

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             DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
            AMAZONCOM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION; DECLARATION OF
                                         ANTHONY ALCAZAR IN SUPPORT THEREOF
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 1           7.      The events precipitating the Debtor’s current Chapter 11 bankruptcy include

 2   Debtor’s affiliated vendors, such as 8Fig, Inc., intercepting the Debtor’s receivables. These

 3   vendors blocked the Debtor’s Shopify and Amazon income, greatly reducing Debtor’s revenues.

 4   The Debtor filed the current Chapter 1 1 Bankruptcy to regain access to its receivables, and to

 5   continue to operate and to pay its creditors.

 6           8.     Amazon.com Services, LLC on one hand, and the Debtor on the other, are parties

 7   to the Vendor Terms and Conditions and related agreements, understandings, terms and

 8   conditions, and purchase orders (collectively, the “Vendor Contract”). A true and correct copy of

 9   the Vendor Contract is attached hereto as Exhibit-i. The Vendor Contract governs the terms

10   under which Amazon purchases products directly from the Debtor. The Vendor Contract permits,

11   among other things, Amazon to cancel purchase orders, return product, and deduct and net, from

12   amounts owed to the Debtor various credits authorized thereunder. The Vendor Contract

13   provides that co-op, allowances, discounts, rebates, marketing, and other credits are set forth in

14   Amazon’s program policies or in separate agreements, each of which is incorporated into the

15   Vendor Contract and each of which may be deducted from vendor payables. Amazon’s pre

16   petition incurred advertising, delivery, service charges, taxes, contract discounts, adjustments,

17   and other amounts (“Amazon Vendor Fees”) pursuant to Amazon Vendor Terms and Conditions

18   (“Vendor Contract”) not exceeding 19%. These charges are ordinarily deducted in the ordinary

19   course of business from invoice payments for the sale of the Debtor’s inventory to Amazon.

20          9.      Pursuant to the terms of the Vendor Contract, prior to the filing of the present

21   bankruptcy case, Amazon was authorized to deduct from payments to the Debtor credits, fees,

22   expenses, and other charges from the Debtor’s payments on invoices and remit, to the Debtor,

23   the Debtor’s net invoice amounts. There are certain outstanding pre-petition fees, expenses and

24   other charges incurred by Amazon which Amazon is not able to deduct absent further order from

25   the Bankruptcy Court.

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        DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
        AMAZONCOM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION DECLARATION OF
                                     ANTHONY ALCAZAR IN SUPPORT THEREOF
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     1           10.     The Debtor conducts its own sales through the Amazon.com online store (the

 2       “Amazon Store”). Amazon and the Debtor are parties to the Business Solutions Agreement (the

     3   “BSA”), which governs the Debtor’s ability to sell products to customers on the Amazon Store.

 4       A true and correct copy of the BSA is attached hereto as Exhibit-2.

 5               11.     According to the terms of the BSA, the Debtor’s sale proceeds are held in

 6       Amazon seller accounts (a United States Seller Account and a Canada Seller Account,

 7       collectively the “Seller Accounts”). Under the terms of the BSA, Amazon is authorized to net

 8       fees, expenses, and reimbursements from the Debtor’s sale proceeds and remit, to the Debtor’s

 9       bank account, the Debtor’s net proceeds. There are certain outstanding pre-petition fees,

10       expenses and other charges incurred by Amazon which Amazon is not able to deduct absent

11       further order from the Bankruptcy Court.

12               12.    Amazon’s pre-petition incurred advertising, delivery, service charges, taxes, and
13       other amounts (“Amazon Fees”) pursuant to the BSA govern the seller account relationship

14       between the Debtor and Amazon. These charges are ordinarily deducted from proceeds of the

15       sales of the Debtor’s inventoly in the ordinary course of business between the Debtor and

16       Amazon. Debtor has two separate accounts that are subject to the terms of the BSA: the US

17       Amazon account and the Canada Amazon account. As of the petition date, the Debtor owes

18       Amazon approximately $40,515.89 related to the US Amazon account. As of the petition date,

19       the Debtor’s Canada Amazon account a balance due to the Debtor of approximately $48,221.40.

20       The US Amazon account and Canada Amazon account are separate from each other. There will

21       not be any deduction of fees owed on the US Amazon account from the Canada Amazon

22       account. Specifically, for the Canada Amazon account, Amazon will only deduct the Amazon

23       Fees related to the Canada Amazon account. For the US Amazon account, Amazon will only

24       deduct the Amazon Fees related to the US Amazon account plus an additional $1,000.00 every

25       month to be applied toward the $40,515.89 pre-petition outstanding balance until paid in full.

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            DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
            AMAZON.COM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATION: DECLARATION OF
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     1    Amazon will not withhold any amount in addition to the monthly $1,000.00 from the US

     2    Amazon account to reducing the $40,515.89 pre-petition balance.

     3            13.      If the Debtor’s ability to sell its products on Amazon and to transact business with
     4    Amazon is terminated or interrupted in any way, the Debtor’s business will be paralyzed, which

     5    will cause great reduction in Debtor’s revenue and hence, the inability of Debtor to propose a

     6    successful reorganization plan. The sales through Amazon’s purchase orders and Amazon’s

     7    online retail portals comprise roughly 62% of Debtor’s total revenue. Amazon issues an order

     8    for Debtor’s tortilla products every Sunday, which takes the Debtor approximately 5 days to

     9   fulfill. Without the continued revenue from Amazon, Debtor will not be able to afford the

 10      materials to fulfill the weekly Amazon orders, leading to negative reviews of Debtor’s products

 11      and drastically reduced sales. This in turn would result in a huge loss of income for the Debtor,

12       which Debtor needs in order to stay in business and generate income to fund its Plan of

13       Reorganization.

14               14.    The nature of Debtor’s business operation is critically dependent on maintaining a,
15       good relationship with Amazon and is extremely time-sensitive. Debtor sells most of its tortilla
16       products to Amazon. Amazon disburses funds to the Debtor on a bi-weekly basis. Due to the

17       timing of the Debtor’s bankruptcy filing, part of the Amazon Fees that Amazon normally

18       automatically deducts from the funds before issuing payments to Debtor include charges that

19       were incurred pre-petition. However, because of the pending bankruptcy, Amazon is not

20       allowed to deduct and apply payments toward pre-petition incurred expenses. Absent this

21       Court’s order authorizing Amazon to deduct the Amazon Fees for the pre-petition period, it will
22       need to administratively freeze sufficient funds in the Seller Account and retain a reserve to

23       preserve its recoupment rights on the vendor payables, causing cash flow problems for the

24       Debtor. Thus, Debtor asks this Court to allow Amazon to deduct Amazon Fees certain of which
25       have been incurred prepetition from the Seller Account proceeds and to deduct from invoice

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            DEBTOR’S MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION CLAIMS OF CRITICAL VENDOR
            AMAZON.COM SERVICES, LLC NECESSARY FOR DEBTOR’S CONTINUED BUSINESS OPERATlON DECLARATION OF
                                          ANTHONY ALCAZAR IN SUPIORT THEREOF
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     1    payments on the vendor pavables, in order to allow the Debtor to continue to run its business

     2    without any hold on Debtors Amazon accounts.

     3           I declare under penalty of perjury that the ibregoing is true and correct and that this

     4    declaration is executed on March 1. 2024 in San Fernando. California.

     5
     6                                             Anthony Alcazar         (
                                                   Chief Executive Officer ol N4r. Tortilla. Inc.
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            DEBTORS MOTION FOR AN ORI)ER AUTHORIZING DEBTOR TO PAY PRE-PETFI ION CL,\IMS OF CRII’ICAL VENDOR
            A\IALON CO\1 SFR VICES. LLC NECESSARY fOR DEB1ORS CONTINUED BUSINESS OPERATION: DECLARATION 01
                                         ANTHONY ALCAZAR IN SUPPORt 1 HEREOF
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                          VENDOR TERMS AND CONDITIONS

  Welcome to Amazon’s internal website for vendors, where you can obtain
  information to assist with managing your relationship with Amazon.com Services,
  Inc., and its affiliates (each and collectively, “Amazon”, “we”, “us” or “our”). Any
  person or entity (“Vendor”, “you” or “your”) who wants to supply Products (as
  defined in Section 1) to Amazon or access or use this website must accept these
  Vendor Terms and Conditions (“Agreement”) without change. BY REGISTERING FOR
  OR OTHERWISE USING THIS WEBSITE, YOU (1) ON BEHALF OF YOURSELF AND
  THE ENTITY THAT YOU REPRESENT, AGREE TO BE BOUND BY ALL TERMS AND
  CONDITIONS OF THIS AGREEMENT, INCLUDING ALL TERMS AND CONDITIONS
  INCORPORATED BY REFERENCE; AND (2) REPRESENT AND WARRANT THAT YOU
  ARE EXPRESSLY AUTHORIZED TO BIND VENDOR TO THIS AGREEMENT.

  1. Purchase Orders and Pricing: This Agreement governs our purchase of
  Products from you. “Products” means all goods provided to Amazon, including their
  packaging but excluding, if applicable, digital content that is intended for sale to
  customers and that is covered by separate agreements between you and us. We
  are not obligated to purchase Products, and you are not obligated to sell Products,
  until you accept a purchase order (“PD”). You will not substitute Products or
  combine or consolidate POs without our consent. Terms specified in PD
  confirmations or other communications sent by you to us are not binding unless
  agreed to in writing by both parties. Documents that we sign acknowledging receipt
  of Products do not constitute acceptance of the Products. We may modify or cancel
  POs without penalty before you deliver Products to the carrier. The P0 provides
  Product prices and payment terms and may include discounts or rebates.
  Purchasing terms, coop, allowances, discounts, rebates or other funding, to the
 extent not reflected in the P0, will be set forth in Program Policies or separate
 agreements (“Additional Terms”), each of which is incorporated into this
 Agreement. Prices include any commissions and other charges, unless otherwise
  noted. You may request that certain Products be sold only to customers with
 Amazon Business accounts (“Business-Only Products”). You will identify to Amazon
 which Products are Business-Only Products and will be responsible for maintaining
 that list and ensuring its accuracy. Final determination about which Products
 constitute Business-Only Products, and any customer requirements that may apply
 to such products, will be made by Amazon.

 2. Product Images/Information: On an ongoing basis, you will provide us, free
 of charge, all current Product information, including electronic images and any
 Product information or warnings required by law to be disclosed in any sale or
 advertisement of the Product (“Product Information”). Product Information also
 includes any Product information collected by us from your website, or otherwise
 made available to us by you (or by a third party at your direction). You grant us a
 non-exclusive, worldwide, perpetual, irrevocable and royalty-free license to: (a)
 use, copy, display, perform, and distribute the Product Information on or in
 connection with any online or offline point of presence, mobile application, service
 or feature; (b) excerpt, reformat, adapt or otherwise create derivative works of the
 Product Information; (c) use all trademarks or trade names included in the Product


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  Information; and (d) sublicense any of the foregoing rights to third parties in
  connection with our programs or services (for example, to advertise your Products).
  You will promptly provide all information regarding safety, compliance, industry
  standards or testing related to your Products (“Product Safety Information”) that
  we reasonably request.

  3. Representations, Warranties, and Covenants: You represent, warrant, and
  covenant on an ongoing basis that: (a) the Products are genuine and free from
  defects; (b) all materials and other items incorporated into the Products are new
  (not refurbished or reconditioned), unless you have received our prior written
  consent otherwise; (c) the Product Information, Product Safety Information,
  packaging, and labeling is true, accurate and complete; (d) the Products, Product
  Information, and our exercise of our license rights in this Agreement, will not
 violate any third party rights, including intellectual property rights; (e) you will
 comply with all applicable laws and rules relating to the Products (including
 obtaining and maintaining any permits or licenses required to manufacture,
 distribute, sell, export, import or otherwise deal in any Product), and the Products,
  Product Information, packaging, labeling, export, and import documentation (if
 applicable) will comply with all applicable laws and rules; (f) the Products may be
  lawfully marketed, stored, sold, distributed, and disposed of without restriction
  (e.g., no required disclosures, licenses, or registrations) other than any specific
 restrictions or prohibitions you disclose and we consent to in writing in advance of
 shipment to us, and you will notify Amazon in writing of all customer requirements
 that are required under applicable law for Business-Only Products identified by you;
 (g) no Product is, or contains ingredients that are, regulated as a controlled drug or
 substance, or is listed as a regulated chemical; (h) no Products will be provided to
 us that are regulated as a hazardous or dangerous product or material, except as
 expressly permitted under applicable Program Policies or you disclose to us and we
 consent to in writing in advance of shipment to us; and (i) the Products were
 produced, manufactured, assembled, and packaged in compliance with all
 applicable labor, wage, and hour laws and rules (including the U.S. Fair Labor
 Standards Act, if applicable), and no Products were produced, manufactured,
 assembled, or packaged by forced, prison or child labor (defined as age 15 or the
 minimum working age within the applicable jurisdiction, whichever is older); (j) the
 country of origin of the Products is not subject to U.S. or other applicable
 government sanctions that prohibit the importation of products from such country
 at the time of import or at the time you deliver the Products to us; (k) you and
 your financial institution(s) are not subject to sanctions or otherwise designated on
 any list of prohibited or restricted parties or owned or controlled by such a party.

 4. Product Returns; Effect of Remedies; Product Recalls and Safety Alerts:
 We may return or dispose of at your expense, and you will accept and reimburse us
 for, any Product (a) that is defective, (b) that does not conform to agreed
 specifications or to samples, (c) that is subject to recall or safety alert by a
 government authority or the Product’s manufacturer or distributor or that we
 otherwise reasonably determine poses a safety risk to customers, (d) that was not
 ordered in the applicable P0, (e) for which you fail to promptly provide Product
 Safety Information upon our reasonable request, or (f) that does not comply with


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  this Agreement. You will cooperate with the return or disposal of any Products
  under this Section. Title and risk of loss for all Products returned under this
  Agreement will pass to you upon delivery by us to the carrier. Except to the extent
  we otherwise agree in writing, we may also return to you or dispose of any Product
  that is damaged; you will accept any such return and reimburse us for the Product
  and any cost of return or disposal. Payment of an invoice does not limit our
  remedies. You will provide us with immediate written notice of any Product recall or
  safety alert. You are responsible for costs we incur in a recall or safety alert and for
  providing any required notices, information, and documents to applicable
  authorities or that are otherwise necessary for carrying out the recall or safety
  alert.

  5. Vendor Defense and Indemnification: You will defend, indemnify, and hold
  harmless Amazon.com, Inc., its affiliated companies, and their respective officers,
  directors, employees, and agents (the “Amazon Parties”) against any third party
  claim, liability, loss, damage, cost or expense (including reasonable legal fees)
  (each, a “Claim”, and collectively, the “Claims”) incurred by any Amazon Party
  arising from or relating to: (a) any death of or injury to any person, damage to any
  property or any other damage or loss related to any Product; (b) any Product recall
  or safety alert; (c) any infringement or misappropriation of any third party rights,
  including intellectual property rights, by any Product, Product Information, or other
  content you provide to us; (d) your negligence or intentional misconduct; (e) your
  breach of this Agreement; (f) any Product-related issue for which you or we are
 strictly liable; or (g) your failure to state accurate Product Information, or to
  promptly provide accurate Product Safety Information upon our reasonable request.
  However, with respect to the foregoing indemnity obligations, you will not be
 obligated to indemnify Amazon Parties to the proportional extent the liability for a
 Claim is caused by the negligence or intentional misconduct of that Amazon Party
 as determined by a final, non-appealable order of a court having jurisdiction. You
 will not consent to the entry of a judgment or settle any Claim without the Amazon
 Parties’ prior written consent, which may not be unreasonably withheld. You will
 use counsel reasonably satisfactory to the Amazon Parties, and the Amazon Parties
 will cooperate in the defense at your expense. If any Amazon Party reasonably
 determines that any Claim might have an adverse effect, that Amazon Party may
 take control of the defense at its expense (without limiting your indemnification
 obligations). Your obligations under this Section 5 are independent of your other
 obligations under this Agreement.

 6. Limitation of Liability: NEITHER PARTY IS LIABLE TO THE OTHER FOR ANY
 LOSS OF PROFITS OR OTHER CONSEQUENTIAL, SPECIAL, INCIDENTAL, PUNITIVE,
 OR INDIRECT DAMAGES ARISING IN CONNECTION WITH THIS AGREEMENT,
 EXCEPT FOR THOSE ARISING IN CONNECTION WITH YOUR DEFENSE AND
 INDEMNIFICATION OBLIGATIONS UNDER THIS AGREEMENT.

 7. Shipping: The parties will agree which party is responsible for managing and
 paying for transportation of Products to us. When we pay for transportation, you
 will deliver the Products to the Amazon-designated carrier and title and risk of loss
 for the Products will pass to us when you deliver the Products to the carrier (for


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  domestic shipments) or when the Products are cleared for export and delivered to
  the carrier at the port of export (for international shipments). When you pay for
  transportation, title and risk of loss for the Products will pass to us when we accept
  the Products. Except to the extent that we agree otherwise, you or your designated
  agent will be the importer or exporter of record, as applicable, on all cross-border
  transfers, returns, and other shipments of Products between you and us, will not
  list us as the importer or exporter on any import, export or other customs
  documentation, and will ensure that all cross-border transfers, Product returns and
  other shipments comply with all import, export, and other applicable laws and
  regulations. Under no circumstances will we be the exporter of record for cross-
  border shipments of Products from you to us. As the importer and exporter of
  record, you or your designated agent will be responsible for payment of any taxes,
  duties or fees, and will be responsible for all required recordkeeping, registration,
  reporting, and licensing. If we expressly agree to act as the importer or exporter of
  record, you will prepare and submit all documents required to export Products or to
  bring, distribute, and sell those Products in the destination country, you represent
  and warrant that all documents and the information contained in such documents
  are complete, accurate, and up to date, and you will pay any additional fees or
  charges due to insufficient or incorrect documentation. We will incur no liability
  arising from any assistance we provide in preparing any documentation or
  otherwise.

 8. Insurance; Guaranties; Proprietary Products; Consignment; Direct
 Fulfillment; Proposition 65: You will comply with Schedule 1. If you at any time
 provide any Product to us that is described on Schedule 2, then you hereby also
 provide to us the guaranty applicable to that Product set forth in Schedule 2. If the
 parties agree that you will manufacture Products according to our designs or
 specifications, then you will comply with Schedule 3 for such Products. If the parties
 agree that you will provide Products for consignment to us, you will comply with
 Schedule 4 for such Products. If the parties determine that you will provide
 fulfillment services for certain Products, then you will comply with Schedule 5 for
 such Products. If you provide Products that require a warning under California
 Health & Safety Code Section 25249.6 (a “Proposition 65 Warning”), then you will
 comply with Schedule 7 for such Products.

 9. Confidential Information; Publicity: You will, and will cause your affiliates
 and employees to, (a) protect and not disclose information that is identified as
 confidential or that reasonably should be considered confidential to us; (b) use this
 information only to fulfill your obligations under this Agreement; and (c) promptly
 return to us or destroy this information when this Agreement terminates. This
 Section 9 covers all confidential information regardless of when you receive it. You
 will not, without our prior written agreement, use any trademark, service mark,
 commercial symbol, or other proprietary right of Amazon, issue press releases or
 other publicity relating to Amazon or this Agreement, or refer to Amazon in
 promotional materials. If we authorize you to use any of our trademarks, you will
 comply with any Program Policies related to such use, including any trademark
 guidelines.



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  10. Miscellaneous:
  (a) Taxes: You may charge and we will pay applicable federal, national, state or
  local sales or use taxes or value added taxes that you are legally obligated to
  charge (“Taxes”), subject to your provision to us of an invoice that states such
  Taxes separately and meets the requirements for a valid tax invoice. We may
  provide you with an exemption certificate or equivalent information acceptable to
  the relevant taxing authority, in which case you will not charge or collect the Taxes
  covered by such certificate. We may deduct or withhold any taxes that we may be
  legally obligated to deduct or withhold from any amounts payable to you under this
  Agreement, and payment to you as reduced by such amounts will constitute full
  payment and settlement to you of amounts payable under this Agreement. You will
  provide us with any forms, documents, or certifications required for us to satisfy
  any information reporting or withholding tax obligations with respect to any
  payments under this Agreement.

  (b) Choice of Law; Dispute Resolution: This Agreement is governed by the US.
  Federal Arbitration Act, applicable U.S. federal law, and Washington state law,
 without reference to any applicable conflict of laws rules, the Convention on
 Contracts for the International Sale of Goods, or any local laws implementing the
 Convention on Contracts for the International Sale of Goods in any jurisdiction
 where the Products are sold. Any dispute arising out of this Agreement will be
 resolved by binding arbitration, rather than in court. There is no judge or jury
 in arbitration, and court review of an arbitration award is limited. However, an
 arbitrator can award on an individual basis the same damages and relief as a court
 (including injunctive and declaratory relief or statutory damages), and must follow
 the terms of this Agreement as a court would. To begin an arbitration proceeding,
 you must send a letter requesting arbitration and describing your claim to our
 registered agent Corporation Service Company, 300 Deschutes Way SW, Suite 304,
 Tumwater, WA 98501. The arbitration will be conducted by the American Arbitration
 Association (AAA) under its rules, including the AAA’s Commercial Arbitration Rules.
 The AAA’s rules are available at www.adr.org or by calling 1-800-778-7879.
 Payment of all filing, administration and arbitrator fees will be governed by the
 AAA’s rules. Arbitration conducted in person will be in King County, Washington or
 at another mutually agreed location; however, you may choose to have the
 arbitration conducted by telephone or based on written submissions. You and we
 each agree that any dispute resolution proceedings will be conducted only
 on an individual basis and not in a class, consolidated or representative
 action. If for any reason a claim proceeds in court rather than in arbitration you
 and we each waive any right to a jury trial. You and we also both agree that you or
 we may bring suit in court to enjoin infringement or other misuse of intellectual
 property rights.

 (c) Other: Either party may terminate this Agreement with 60 days’ prior written
 notice. Regardless of any termination, you will fulfill all POs you accept before the
 effective date of termination. Section 2 (Product Images/Information), Section 3
 (Representations, Warranties, and Covenants), Section 4 (Products Returns; Effect
 of Remedies; Product Recalls), Section 5 (Vendor Defense and Indemnification),
 Section 6 (Limitation of Liability); Section 8 (Insurance; Guarantees; Proprietary


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   Products; Consignment; Direct Fulfillment; Proposition 65); Section 9 (Confidential
   Information; Publicity); Section 10 (Miscellaneous); Schedule 1 (Insurance);
   Schedule 2 (Guaranty); Sections 3-6 and 8 of Schedule 3 (Proprietary Products);
   Sections 4 and 7 of Schedule 5 (Direct Fulfillment); and Schedule 7 (Proposition 65)
   will survive termination. Any Amazon affiliate may issue a PC under this
   Agreement, and POs are the separate obligation of the affiliate that issues the P0.
   With respect to such POs, such affiliate becomes a party to this Agreement and
   references to Amazon in this Agreement are deemed to be references to such
   affiliate. You will not assign this Agreement, or any obligation or right (including
   any right to payment) in the Agreement, without our prior written consent. Our
   estimates or forecasts are non-binding. We may either withhold and setoff, or
   demand payment of, any sums you owe us, including any Taxes that we are legally
   required to withhold from amounts we pay you. We may withhold payment if you
   have not sent us an appropriate invoice in accordance with the Program Policies. If
  you do not dispute the amounts we pay you (including amounts we withhold or
  setoff) within 90 days after such payment (or any shorter period specified in a
   Program Policy, Additional Terms, or P0), the payment amount will become final
  and you may not challenge or otherwise object to such payment amount. During
  the term of this Agreement and for 2 years after its termination, we may request
  and you will provide copies of your financial records reasonably necessary to verify
  any transactions related to this Agreement. If you do not respond within a
  reasonable period after receiving a records verification request, we may deduct any
  amount we reasonably believe to be due from amounts we pay to you. The parties’
  rights and remedies under this Agreement are cumulative. Either party’s failure to
  enforce any provision will not be a waiver of the party’s rights to subsequently
  enforce the provision. If any provision is held to be invalid, then that provision will
  be modified to the extent necessary to make it enforceable, and any invalidity will
  not affect the remaining provisions. This Agreement incorporates, and you will, and
  the Products you sell to us will, comply with, the terms, conditions, policies,
  guidelines, rules and other information (“Program Policies”) on this website, and
  any other Additional Terms, including any updates to such Program Policies or
  Additional Terms from time to time. To the extent there is a conflict between this
 Agreement, the Program Policies, any Additional Terms or a PC, the conflict will be
  resolved by giving precedence in the order specified in such documents, or if not
  specified, the following order: this Agreement, the Program Policies, the applicable
 Additional Terms, and the applicable PD. You may use standard business forms or
 other communications (such as invoices, confirmations or shipping documents), but
  use of these forms is for convenience only and will not alter or supersede the
 provisions of this Agreement, any of our Program Policies, Additional Terms, or POs.
  Email we send to any email address you have on file with us or that you have
 otherwise designated will constitute notice from Amazon. This Agreement, including
 the Program Policies and any Additional Terms, is the entire agreement between
 Amazon and Vendor for the purchase and sale of Products, and supersedes all prior
 agreements and discussions. The parties expressly agree that this English language
 version of this Agreement (including all Program Policies, Additional Terms, and
 additional terms incorporated by reference or otherwise relating to this Agreement)
 is definitive and that in the event of any dispute or controversy as to the proper



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  interpretation and construction of this Agreement, the English version will prevail.
  Any versions provided in other languages are for reference purposes only.

  11.. Revisions; Continued Use: We reserve the right to change any of the terms
  of this Agreement, including the terms of any materials incorporated herein (unless
  otherwise specified by us in such materials), at any time and in our sole discretion.
  Any changes will be effective upon the earlier to occur of: (a) emailing the revised
  terms, or notice of such changes, to you at your e-mail address; or (b) posting the
  revised terms on this website. You are responsible for reviewing any revised terms,
  and any notices of revisions. YOUR CONTINUED ACCEPTANCE OF PURCHASE
  ORDERS OR CONTINUED USE OF THIS WEBSITE FOLLOWING OUR E-MAILING OR
  POSTING OF ANY REVISED TERMS, OR ANY NOTICE OF ANY SUCH REVISIONS,
  WILL CONSTITUTE YOUR ACCEPTANCE OF THE REVISIONS. IF YOU DO NOT AGREE
  TO ANY CHANGES TO THIS AGREEMENT OR THE PROGRAM POLICIES, YOU MUST
  STOP ACCEPTING PURCHASE ORDERS AND STOP USING THIS WEBSITE, AND GIVE
  US WRITTEN NOTICE.




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                                      SCHEDULE 1

                                      INSURANCE

  1.       If you provide to us any Product other than books, music, videos, DVDs,
  videogames or software, then you will obtain and maintain, at your expense,
  commercial general liability insurance coverage (which must include products
  liability coverage) of at least $1 million USD per occurrence. You must maintain
  your insurance coverage for 12 months after the expiration or termination of this
  Agreement.

  However, if the Products include any Proprietary Products (as defined in Schedule
  3), then the limits of your insurance coverage will be at least $20 million USD per
  occurrence and $20 million USD aggregate. If any Proprietary Products are intended
  for bodily consumption, then any fungi/mold or similar exclusion on the policy must
  contain the following or substantially similar language: “This exclusion does not
  apply to any fungi or bacteria that are, are on, or are contained in, a good or
  product intended for bodily consumption.”

 2.      Your required minimum limits of insurance may be satisfied by any
 combination of primary and excess/umbrella liability insurance policies. You will
 name “Amazon.com, Inc. and its affiliates and their respective officers, directors,
 employees, and agents” as additional insureds on each insurance policy required by
 this Schedule. Each of these policy coverages will be on a primary basis with any
 insurance maintained by us, and our insurance shall be excess of all insurance
 maintained by you. You will provide us with 30 days’ advance notice of cancellation,
 significant modification or expiration of each policy.

 3.      Upon request, you will provide a certificate of insurance and a copy of any
 applicable endorsement evidencing our additional insured status for each insurance
 policy required by this Schedule to Amazon’s Risk Management via email at
 coi@amazon.com. Our approval of your insurance does not relieve you of any
 obligations, including but not limited to your defense and indemnity obligations,
 even for claims over your policy limits. If you fail to perform any of your obligations
 in this Schedule, we may withhold payments owed to you until you meet these
 obligations.




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                                     SCHEDULE 2
                                      GUARANTY

  This schedule sets forth continuing guaranties that you provide to us if you, at any
  time during the term of this Agreement, sell us the types of Products to which they
  apply.

  Schedule 2(a)

  If you provide any Product to us that is subject to the requirements of the U.S.
  Textile Fiber Products Identification Act, the U.S. Fur Products Labeling Act, or the
  U.S. Wool Products Labeling Act, then you provide to us the following continuing
  guaranty:

  You guarantee that all textile fiber, fur or wool Products now being sold or which
  may hereafter be sold or delivered to us are not, and will not be misbranded nor
  falsely nor deceptively advertised or invoiced under the provisions of the U.S.
  Textile Fiber Products Identification Act, the U.S. Fur Products Labeling Act, the
  U.S. Wool Products Labeling Act, and the rules and regulations under any of these
  acts. You acknowledge that furnishing a false guaranty is an unlawful, unfair and
  deceptive act or practice pursuant to the U.S. Federal Trade Commission Act and
  certify that you will actively monitor and ensure compliance with the U.S. Textile
  Fiber Products Identification Act, the U.S. Fur Products Labeling Act, the U.S. Wool
  Products Labeling Act and the rules and regulations under any of these acts during
  the duration of this guaranty.

  Schedule 2(b)

 If you sell, have sold or otherwise provide any Product to us that is a “pesticide” or
 other product regulated under the U.S. Federal Insecticide, Fungicide, and
 Rodenticide Act (“FIFRA”) or its implementing regulations, then you provide to us
 the following continuing guaranty that (a) you are a resident of the United States
 and your current U.S. mailing address is as indicated in your vendor account
 information; and (b) the pesticides and other FIFRA regulated products comprising
 each sale, shipment or other delivery made previously or hereafter are: (i) lawfully
 registered with the U.S. Environmental Protection Agency at the time of sale,
 shipment or delivery, or fully qualified for a specific exemption from the FIFRA
 registration requirements at the time of sale, shipment or delivery, (ii) compliant
 with all requirements of FIFRA and its implementing regulations at the time of sale,
 shipment or delivery, and (iii) provided by you in the original, unbroken packaging.

 Schedule 2(c)

 If you provide any Product to us that is subject to the requirements of the U.S.
 Federal Food, Drug and Cosmetic Act, then you provide to us the following
 continuing guaranty:

 All food, drug, medical device and cosmetic Products comprising each shipment or
 other delivery previously or hereafter made by or on behalf of you to or in the order


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  of us are hereby guaranteed, as of the date of such shipment or delivery, to be, on
  such date, not adulterated or misbranded within the meaning of the U.S. Federal
  Food, Drug, and Cosmetic Act (“FFDCA”), and not an article which may not, under
  the provisions of section 404, 505, or 512 of the FFDCA, be introduced into
  interstate commerce.

  Schedule 2(d)

  If you sell, have sold or otherwise provide any Product to us that is, or includes, a
  diamond, then you provide to us the following continuing guaranty:

  You guarantee that (a) all diamonds now being sold or which may hereafter be sold
  or delivered to us have been handled in accordance with the provisions of the U.S.
  Clean Diamond Trade Act, the Kimberly Process Certification Scheme (as such term
  is defined in the U.S. Clean Diamond Trade Act), and all other applicable laws, rules
  and regulations, and (b) you will purchase diamonds only from importers who
  comply with the U.S. Clean Diamond Trade Act, the Kimberly Process Certification
  Scheme, and who have obtained a Kimberley Process Certificate (as such term is
  defined in the U.S. Clean Diamond Trade Act). Further, upon request, you will
  provide us with a copy of the Kimberly Process Certificate(s) for any of your
  importers.

  Schedule 2(e)

  If you sell, have sold or otherwise provide any Product to us that is a “covered
  good,” as such term is defined in the U.S. Bank Secrecy Act or its implementing
  regulations, then you provide to us the following continuing guaranty:

 You guarantee that you are either (a) a Dealer (as such term is defined in 31 C.F.R.
 1027.100) and maintain a written anti-money laundering program that complies
 with 31 C.F.R. 1027.210, or (b) eligible for the retailer exemption from the
 definition of Dealer pursuant to 31 CFR 1027.100(b)(2)(i) and, therefore, you are
 not required to maintain an anti-money laundering program.




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                                      SCHEDULE 3
                              PROPRIETARY PRODUCTS

    1.      Proprietary Products: If the parties agree that you will manufacture
    Products according to Specifications (“Proprietary Products”), then you and any
    subcontractors, affiliates, and delegates we approve under Section 7 of this
   Schedule (“Subcontractors”) will comply with this Schedule; otherwise, this
   Schedule will not apply. “Specifications” means the specifications, designs
   (including Computer Assisted Designs (“CADs”), drawings, technical or “tech”
   packs, modifications or enhancements), and any related documentation to any of
   the above that we provide to you or is otherwise accepted by us in writing. You
   will manufacture Proprietary Products only at locations pre-approved by us in
   writing; however such pre-approval will not in any way limit any representation,
   warranty or covenant contained in this Schedule 3. You will not make any Material
   Modification to the Proprietary Products’ materials, components, ingredients,
   formulas, formulations, manufacturing processes or manufacturing facilities
   unless you have submit the Material Modification to us and we approve the
   modifications in writing. “Material Modification” means any impact, effect or result
   that would alter the Specifications, ingredients, regulatory status, commercial
   sales, or labeling requirements of any Proprietary Product. You may not rely upon
   any instructions, directions, or documentation provided by a third party, unless
   we notify you in writing that the third party is authorized to provide such
   instructions, directions, or documentation.

  2.      Compliance: Before starting full production, you will produce a quantity
  of finished Proprietary Products designated by us. When developing and
  manufacturing Proprietary Products, you will comply with the Amazon Supplier
  Code of Conduct and any Amazon social compliance, product quality, product
  safety, industry certification, labeling, trademark, packaging, shipping, and
  schedule    requirements    made available by        us to you        (“Compliance
  Requirements”). We will have the right, with or without notice, to review and
  inspect: (a) each of the Proprietary Products, at any stage of their development;
  (b) your and your Subcontractors’ production and related facilities; and (c) any
  materials or documentation relating to, or incorporated in, the Proprietary
  Products. We or a third party selected by us will have the right, with or without
  notice, and at your expense, to review, inspect, and audit your and your
  Subcontractors’ compliance with the Compliance Requirements. You will, and will
  cause your Subcontractors to, implement any corrective actions required by us in
  accordance with the timelines we specify.

  3.      Amazon Intellectual Property: We reserve all rights in the information
  and materials, including Specifications, provided to you by us or our authorized
  third party. Except as expressly set forth in this Schedule, we do not grant to you
  any license, right, title or interest in, to, under or with respect to any trade
  secrets, designs, patents, trademarks, copyrights, inventions, data, trade dress,
  financial information, marketing plans, strategies, projections, or any intellectual
  property held by us (“Amazon Intellectual Property”). Upon our request, you


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   will provide us with all information and documentation that is known to you
   relating to Amazon Intellectual Property. You will assist us in any related
   proceeding or litigation, and will promptly execute and deliver to us or our legal
   representative any papers, affidavits and declarations and take such other action
   as we request to apply for, obtain, maintain, and enforce our rights in the
   Amazon Intellectual Property.

  4.       License: If we direct you to use, mark or label Proprietary Products with a
  trade name, trademark, logo, service mark, trade dress or design (“Amazon
  Identification”), you will apply this marking or labeling, or use said trade dress,
  only on the quantity and in the manner specified. If we direct you to mark
  Proprietary Products with Amazon Identification, we grant you a non-exclusive,
  non-transferable, royalty-free, non-assignable and revocable right and license
  during the term of the Agreement to reproduce and display, without alteration of
  any kind, the Amazon Identification solely on the Proprietary Products and solely
  as directed by us. You may not transfer, assign or sublicense these rights or
  otherwise permit any other party other than a Subcontractor to use the Amazon
  Identification. You will not market, sell or dispose of Proprietary Products that
  include Amazon Identification (or Proprietary Product components that include
  Amazon Identification) to anyone other than us. If we do not accept delivery of
  Proprietary Products, you will not dispose of these Proprietary Products without
  removing labels, or markings and destroying Amazon Identification.

   5.      Work Product: With the exception of products previously sold by you,
   any Proprietary Products or Amazon Identification made specifically for and/or at
   the request of us (“Work Product”) will be deemed a “work made for hire” and
   made in the course of the performance of the terms of the Agreement and will
   belong exclusively to us. We own and retain all intellectual property rights in and
  to the Work Product and will have the right to apply for, register, obtain, and hold
   in its own name any and all intellectual property rights with respect to the Work
   Product. You will not create Work Product that infringes, misappropriates or
  otherwise violates any third party rights, including intellectual property rights.
  You represent, warrant, and covenant that you own all right, title and interest in
  and to any copyright, design, print, cut-out, lace, embellishment, appliqué,
  and/or fabric design (collectively, the “Print Design”) not provided by us, that is
  incorporated in any Proprietary Product, and that the Print Design is not an
  unauthorized copy. If it is determined that you incorporated a Print Design in
  violation of the preceding sentence, you will immediately take steps to remedy
  the violation, including without limitation, providing additional assurances or
  alternative designs, or obtaining any necessary licenses or rights. We will have
  full and unlimited rights to make, have made, use, reproduce, sell, offer for sale,
  import, export, and distribute the Work Product without any claim or right thereto
  by you or your agents for additional compensation, and you will not make, use,
  reproduce, sell, offer for sale, import, export or distribute the Work Product for or
  on behalf of any other person or entity without the express written consent of
  Amazon. Without limiting our ownership rights outlined above in this paragraph,
  you hereby irrevocably assign to us, our successors and assigns all right, title,
  and interest in and to the Work Product, including intellectual property rights


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   embodied or incorporated in the Work Product or developed in the course of your
   production, creation or development of the Work Product, including without
   limitation all copyrights, trademarks, trade dress, service marks, patents,
   designs, Print Designs, recipes, formulas, formulations and trade secrets. You will
   execute all applications, assignments or other documents of any kind and take all
   other legally necessary steps under the law of any applicable jurisdiction or any
   international regime required for us to apply for, register, obtain, protect, perfect
   or enforce our rights, title, and interest in the Work Product. You appoint us as
   your attorney-in-fact to execute assignments of, and register all rights to, the
   Work Product and the proprietary rights in the Work Product.

   6.      Representations and Warranties: You represent, warrant, and
   covenant that all Proprietary Products (a) will be manufactured by you in
   accordance with the Specifications and Compliance Requirements and (b) are of
   merchantable quality and good material and workmanship, are free of
   contamination, and are fit and sufficient for purposes for which goods of that type
   are ordinarily used. You also represent, warrant, and covenant that the design
   and/or manufacturing process for all Proprietary Products will not violate any third
   party rights, including intellectual property rights, where the Proprietary Products
   may be imported into and/or sold.

 7.       Subcontracting: You will not subcontract or delegate any of your
 obligations under the Agreement, including this Schedule 3, to any third parties
 without our prior written consent. If we consent to the use of any Subcontractor,
 you will ensure that such Subcontractor is bound to the terms of the Agreement
 and provide a copy of any subcontract entered between you and such
 Subcontractor to us upon request. Each subcontract will name us as a third party
 beneficiary of the subcontract. Notwithstanding our consent or the existence or
 terms of any subcontract, you are responsible for the full performance of your
 obligations under the Agreement and for your Subcontractors’ compliance with the
 terms of the Agreement.

  8.       Raw Materials: We may, from time to time, at our expense, furnish raw
  materials or packaging materials (collectively, “Raw Materials”) to you required
  for the manufacture, production, processing, and/or packaging of Proprietary
  Products. You agree that you will only use Raw Materials in Proprietary Products
  at our direction, and not for any other products. You agree to inspect all Raw
  Materials to ensure they meet the Specifications before using the Raw Materials in
  the manufacture, production, processing, and/or packaging of Proprietary
  Products. You will: (a) store all Raw Materials at your facility, free of charge and
  pursuant to the requirements provided by us from time to time; (b) clearly
  and conspicuously label the Raw Materials as our property; (c) segregate all Raw
  Materials from other goods; (d) take reasonable measures to secure and protect
  the Raw Materials from loss or damage; and (e) keep all Raw Materials free and
  clear of any liens, claims, security interests, and other encumbrances. We will
  retain title to the Raw Materials until you deliver the Proprietary Products
  containing the Raw Materials to us. You will bear the risk of loss of the Raw


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   Materials from the time of delivery to you until delivery of the Proprietary
   Products containing the Raw Materials to us. Upon termination or expiration of the
   Agreement, all Raw Materials in your possession at such time will, at our option,
   either be (i) returned to us promptly, at our cost, (ii) destroyed, or (iii) purchased
   by you at a reasonable price to be determined in accordance with then-current
   industry costs, as agreed by both parties.




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                                      SCHEDULE 4
                                     CONSIGNMENT


  1.     If the parties agree that you will provide Products for consignment to us, you
  will comply with this Schedule; otherwise, this Schedule will not apply. We may
  request consignment Products with a PD. Unless otherwise agreed by the parties,
  the price on the consignment P0 will be the price charged by you and paid by us
  following our purchase, if any, of the consignment Products from you and our sale
  of consignment Products to our customers. All terms of the Agreement apply to
  consignment Products, except to the extent otherwise provided in this Schedule.


  2.    Title to each unit of Product transfers to us at the time we purchase it from
  you. We will pay you the amount properly payable at the end of each month for
  consignment Products sold in the previous month. Risk of loss for consignment
  Products will transfer to us only after we accept the Products.


 3.     We will accept consignment Products only at the facility designated in the
 applicable P0. We will store accepted consignment Products until (a) we purchase
 such consignment Product from you, (b) we return the consignment Product, or (c)
 the Agreement is terminated for any reason. We may store consignment Products
 in any facility we choose. If there is loss of or damage to any consignment Product
 while stored by us, our liability is limited to the price that we agreed to pay you for
 the consignment Product in Section 1 of this Schedule.


 4.     You will pay all personal property taxes assessed on consignment Products,
 including taxes assessed during the period we hold the Products. You has no
 security interest, lien or other claim in or to the proceeds that we receive from our
 sale of consignment Products. If an Amazon customer returns consignment Product,
 we may retain title to such returned Product or return such Product to you. All
 Products ordered on a consignment basis will constitute true consignments of the
 consignment Products and not the purchase and sale of merchandise by Amazon.




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                                      SCHEDULE 5
                                DIRECT FULFILLMENT
  1.       If the parties determine that you will provide packing and shipping
  fulfillment services, as described in this Schedule (“Direct Fulfillment Services”),
  then you will comply with this Schedule; otherwise, this Schedule will not apply.

  2.      This Schedule will only apply to purchases of Products that we designate for
  Direct Fulfillment Services (“Direct Fulfillment Products”), and as applied to
  purchases of Direct Fulfillment Products and the performance of Direct Fulfillment
  Services the provisions of this Schedule will control over any inconsistent provision
  of this Agreement.

 3.      Direct Fulfillment Services: We will have the right to fulfill any of our
 customer orders for Products by issuing a P0 to you designated for Direct
 Fulfillment Services (a “Direct Fulfillment P0”) and utilizing the Direct Fulfillment
 Services for such Direct Fulfillment Products. Any of our affiliates will have the right
 to issue a Direct Fulfillment P0 under this Agreement, and Direct Fulfillment POs
 are the separate obligation of the affiliate that issues the Direct Fulfillment P0.

 4.      Amazon Customers: Our customers are not, by virtue of this Schedule or
 the rest of this Agreement, your customers. You will not handle or address any
 contacts with any of our customers, and, if contacted by any of our customers, you
 will state that those customers must follow contact directions on the web site on
 which the purchase was made to address customer service issues; provided that
 this Section 4 will not restrict you with respect to people or entities who are our
 customers but contact you for matters unrelated to us, the Direct Fulfillment
 Products or the Direct Fulfillment Services, or with respect to distributing and
 processing product warranty cards.

 5.      Compensation: Your compensation for the purchase of the Direct Fulfillment
 Products and for the performance of the Direct Fulfillment Services (including
 without limitation all labor, materials, costs, and expenses of the Direct Fulfillment
 Services) is included in the price invoiced for the related Product(s), and (except as
 set forth in any applicable Direct Fulfillment Program Policies, as defined below,
 with respect to reimbursement for shipments on your carrier accounts) you will not
 be entitled to, and we will not pay, any other fees, costs, accessorials, additionals,
 expenses, charges, surcharges, taxes, tariffs or other compensation or
 reimbursement in connection with the Direct Fulfillment Services.

 6.      Warranties: You represent, warrant, and covenant that you will comply with
 all laws, regulations and rules relating to the Direct Fulfillment Services. We may
 from time to time give volume and other projections to you, but such projections
 are speculative only and will not give rise to liability for us. We do not make any
 representation, warranty, or promise as to the amount of business or Direct
 Fulfillment POs you can expect at any time under this Schedule or this Agreement,
 and we will not be liable for any actions you undertake based on your expectations.



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  7.      Tax Matters: We will provide you with a resale exemption certificate, either
  with respect to the Multi-State Tax Commission or to any other jurisdiction we
  deem appropriate in our sole discretion, with respect to any purchases of Direct
  Fulfillment Products. You accept such resale exemption certificates with respect to
  Direct Fulfillment Products and Direct Fulfillment Services and will not charge to (or
  seek reimbursement from) us any sales, use or similar taxes (“Sales Taxes”), add
  separate line items on invoices for any Sales Taxes, or add any statement to the
  invoices stating that the Direct Fulfillment Product or Direct Fulfillment Service
  prices include Sales Taxes. You will be solely liable for, and will indemnify and hold
  us harmless against, any and all Sales Taxes assessed or claimed upon the sale or
  provision of any Direct Fulfillment Products or Direct Fulfillment Services under this
  Agreement and against all interest, penalties, costs, and expenses (including
  attorneys’ fees) related to such Sales Taxes. Each of the parties will use
  commercially reasonable efforts (at its own expense) to cooperate and provide
  assistance to each other with respect to any potential state or local Sales Tax audit
  in connection with the Direct Fulfillment Services; provided that no party will be
  required to provide information that is not readily available using such party’s
  existing information systems, and no party will be required to modify or create new
  systems to obtain or process any such required or requested Sales Tax information.
  We may terminate this Schedule in its entirety or with respect to any Direct
  Fulfillment Product or and facility from which you provide Direct Fulfillment Services
  (or group of Products or facilities) if we determine that the Direct Fulfillment
  Services or related transactions are causing or are reasonably likely to cause any
  adverse tax effect.

 8.       Miscellaneous: This Schedule incorporates, and you, the Direct Fulfillment
  Products you sell and the Direct Fulfillment Services you provide will comply with,
 the terms, conditions, policies, guidelines, specifications, rules, and other
 information applicable to the Direct Fulfillment Services and accessible on this web
 site for vendors (“Vendor Site”) at the time of Direct Fulfillment Product shipment
 (“Direct Fulfillment Program Policies”), including without limitation any updates to
 such Direct Fulfillment Program Policies from time to time. To the extent there is a
 conflict between this Schedule and the Direct Fulfillment Program Policies, the
 terms of the Schedule will control. No force majeure or similar provision excusing
 performance that applies generally under this Agreement will be deemed to apply
 to the obligation to perform the Direct Fulfillment Services.

 9.      Revisions; Continued Use: Direct Fulfillment Program Policies are Program
 Policies for purposes of this Agreement, and are subject to change in accordance
 with Section 11. YOUR CONTINUED ACCEPTANCE OF DIRECT FULFILLMENT POS OR
 CONTINUED USE OF VENDOR SITE FOLLOWING OUR E MAILING OR POSTING OF
 ANY REVISED TERMS, CONDITIONS, OR DIRECT FULFILLMENT PROGRAM
 POLICIES, OR ANY NOTICE OF ANY SUCH REVISIONS, WILL CONSTITUTE YOUR
 ACCEPTANCE OF THE REVISIONS. IF YOU DO NOT AGREE TO ANY CHANGES TO
 THIS SCHEDULE (INCLUDING WITHOUT LIMITATION THE DIRECT FULFILLMENT
 PROGRAM POLICIES), YOU MUST STOP ACCEPTING DIRECT FULFILLMENT POS.




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                                   SCHEDULE 6
  [RESERVED]




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                                     SCHEDULE 7
                                  PROPOSITION 65
  For each Product that requires a Proposition 65 Warning, you (a) will provide us
  with such warning in the manner specified in our Proposition 65 Program Policy in
  the Vendor Central Resource Center, (b) agree that our display of a Proposition 65
  Warning on a Product detail page is confirmation of our receipt of that warning, and
  (c) will only revise or remove a Proposition 65 Warning for a Product when the prior
  warning is no longer legally required.




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                                EXHIBIT-2
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amazon seLLer centraL                                 English   “
                                                                            q   r    Sell on Amazon




      This article applies to selling in: United States



  Seller Central Help > Policies, agreements, and guidelines >
  Amazon Services Business Solutions Agreement



  Amazon Services Business Solutions
  Agreement
  The version of this Agreement in English is the definitive legal version. A
  translation into Chinese is available for your ease of reference.


  General Terms


  Welcome to Amazon Services Business Solutions, a suite of optional services
  for sellers including: Selling on Amazon, FUlfillment by Amazon, Amazon
  Advertising, Transaction Processing Services, and the Selling Partner API.


  THIS AMAZON SERVICES BUSINESS SOLUTIONS AGREEMENT (THE
  “AGREEMENT”) CONTAINS THE TERMS AND CONDITIONS THAT GOVERN YOUR
  ACCESS TO AND USE OF THE SERVICES AND IS AN AGREEMENT BETWEEN YOU
  OR THE BUSINESS YOU REPRESENT AND AMAZON. BY REGISTERING FOR OR
  USING THE SERVICES, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU
  REPRESENT) AGREE TO BE BOUND BY THE TERMS OF THIS AGREEMENT,
  INCLUDING THE SERVICE TERMS AND PROGRAM POLICIES THAT APPLY FOR
  EACH COUNTRY FOR WHICH YOU REGISTER OR ELECT TO USE A SERVICE (IN
  EACH CASE, THE “ELECTED COUNTRY”).


 As used in this Agreement, “we,” “us,” and “Amazon” means the applicable
 Amazon Contracting Party and any of its applicable Affiliates, and “you” means
 the applicant (if registering for or using a Service as an individual), or the
 business employing the applicant (if registering for or using a Service as a
 business) and any of its Affiliates. Capitalized terms have the meanings given to
 them in this Agreement. To the extent there is a conflict between these General
 Terms, the Service Terms and Program Policies, the conflict will be resolved by
 giving precedence in the order specified in such documents, or if not specified,
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 the following order: the GeneraL Terms, the Service Terms, and the Program
 Policies.

     9. Enrollment.

 To begin the enrollment process, you must complete the registration process for
 one or more of the Services. Use of the Services is limited to parties that can
 lawfully enter into and form contracts under applicable Law (for example, the
 ELected Country may not allow minors to use the Services). As part of the
 application, or at any time during the term of this Agreement, you must provide
 us with your (or your business’) legal name, address, phone number and e-mail
 address, as well as any other information we may request. Any information
 provided must correspond to your business name or to the name of an
 individual legally authorized to act on behalf of your business. Any personaL
 data you provide to us will be handled in accordance with Amazon’s Privacy
 Notice.

    2. Service Fee Payments; Receipt of Sales Proceeds.

 Fee details are described in the applicable Service Terms and Program Policies.
 You are responsible for all of your expenses in connection with this Agreement.
 To use a Service, you must provide us with vaLid credit card information from a
 credit card or credit cards acceptable by Amazon (“Your Credit Card”) as well, as
 valid bank account information for a bank account or bank accounts acceptable
 by Amazon (conditions for acceptance may be modified or discontinued by us at
 any time without notice) (“Your Bank Account”). You will use only a name you
 are authorized to use in connection with a Service and will update all of the
information you provide to us in connection with the Services as necessary to
ensure that it at all times remains accurate, complete, and valid. You authorize
us (and will provide us documentation evidencing your authorization upon our
request) to verify your information (including any updated information), to
obtain credit reports about you from time to time, to obtain credit
authorizations from the issuer of Your Credit Card, and to charge Your Credit
Card or debit Your Bank Account for any sums payable by you to us (in
reimbursement or otherwise). All payments to you wilL be remitted to Your Bank
Account through a banking network or by other means specified by us. Except
as provided otherwise, all amounts contemplated in this Agreement will be
expressed and displayed in the Local Currency, and all payments contemplated
by this Agreement will be made in the Local Currency.


If we determine that your actions or performance may result in returns,
chargebacks, claims, disputes, violations of our terms or policies, violations
of law or other risks to Amazon or third parties, then we may in our sole
discretion withhold any payments to you for as long as we determine any
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 related risks to Amazon or third parties persist. For any amounts that we
 determine you owe us, we may (a) charge Your Credit Card or any other
 payment instrument you provide to us; (b) offset any amounts that are
 payable by you to us (in reimbursement or otherwise) against any payments
 we may make to you or amounts we may owe you; (c) invoice you for
 amounts due to us, in which case you will pay the invoiced amounts upon
 receipt; (d) reverse any credits to Your Bank Account; or (e) collect payment
 or reimbursement from you by any other Lawful means.


 To be eligible for fund disbursement, you must refrain from deceptive,
 frauduLent, or illegal activity and remain in compliance with our Program
 Policies. If we determine that your account—or any other account you have
 operated—has been used to engage in deceptive, fraudulent, or illegaL
 activity (including the saLe of counterfeit or stolen goods), or your use of the
 Services has harmed, or our controls identify that it might harm other
 sellers, customers, or Amazon’s legitimate interests, then we may in our sole
 discretion permanently withhold any payments to you, because these
 activities expose Amazon to financial risks and inflict monetary damages and
 irreparable non-monetary harms on Amazon. We will offer you an avenue to
 appeal our fund withholding decision by following the procedures outlined
 in Amazon’s policies. Successfully completing the appeal process is required
 to be eligible for further disbursements.


In addition, we may require that you pay other amounts to secure the
performance of your obligations under this Agreement or to mitigate the risk of
returns, chargebacks, claims, disputes, violations of our terms or policies, or
other risks to Amazon or third parties. These amounts may be refundable or
nonrefundabte in the manner we determine, and failure to comply with terms of
this Agreement, including any applicable Program PoLicies, may result in their
forfeiture.

As a security measure, we may, but are not required to, impose transaction
Limits on some or all customers and sellers relating to the value of any
transaction or disbursement, the cumulative value of all transactions or
disbursements during a period of time, or the number of transactions per day or
other period of time. We will not be liable to you: (i) if we do not proceed with a
transaction or disbursement that would exceed any limit established by us for a
security reason, or (ii) if we permit a customer to withdraw from a transaction
because an Amazon Site or Service is unavailable following the commencement
of a transaction.

    3. Term and Termination.
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 The term of this Agreement will start on the date of your completed
 registration for use of a Service and continue until terminated by us or you as
 provided below. You may at any time terminate your account or this Agreement
 immediately on notice to us via Seller Central, emaiL, the Contact Us form, or
 similar means. We may terminate your account or this Agreement for
 convenience with 30 days’ advance notice. We may suspend or terminate your
 account or this Agreement immediately if we determine that (a) you have
 materially breached the Agreement and failed to cure within 7 days of a cure
 notice unless your breach exposes us to Liability toward a third party, in which
 case we are entitled to reduce, or waive, the aforementioned cure period at our
 reasonable discretion; (b) your account has been, or our controls identify that it
 may be used for deceptive or fraudulent, or illegal activity; (c) your use of the
 Services has harmed, or our controls identify that it might harm, other sellers,
 customers, or Amazon’s legitimate interests; (d) your Account Health Rating falls
 below our published threshold(s) for deactivation; or (e) if we are required to do
 so by law. We will promptly notify you of any such termination or suspension
 via email or similar means including Seller Central, indicating the reason and
 any options to appeal, except where we have reason to believe that providing
 this information will hinder the investigation or prevention of deceptive,
 fraudulent, or illegal activity, or will enable you to circumvent our safeguards.
 On termination of this Agreement, alL related rights and obligations under this
 Agreement immediately terminate, except that (f) you will remain responsible
 for performing all of your obligations in connection with transactions entered
 into before termination and for any liabilities that accrued before or as a result
 of termination, and (g) Sections                                       i.°f these
 General Terms and Section P-4 of the Transaction Processing Service Terms
 survive and the Fulfillment by Amazon Service Terms survive as set forth in
 Section F-i 3 of such terms.

    4. License.


 You grant us a royalty-free, non-exclusive, worldwide right and license for the
 duration of your original and derivative intellectual property rights to use any
 and all of Your Materials for the Services or other Amazon product or service,
 and to sublicense the foregoing rights to our Affiliates and operators of Amazon
 Associated Properties; provided, however, that we will not alter any of Your
 Trademarks from the form provided by you (except to re-size trademarks to the
 extent necessary for presentation, so long as the relative proportions of such
 trademarks remain the same) and will comply with your removal requests as to
 specific uses of Your Materials (provided you are unable to do so using standard
 functionality made available to you via the applicable Amazon Site or Service);
 provided further, however, that nothing in this Agreement will prevent or impair
 our right to use Your Materials without your consent to the extent that such use
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 is alLowable without a License from you or your Affiliates under applicable Law
 (e.g., fair use under United States copyright law, referential use under trademark
 Law, or valid License from a third party).

     5. Representations.

 Each party represents and warrants that: (a) if it is a business, it is duLy
 organized, validly existing and in good standing under the Laws of the country
 in which the business is registered and that you are registering for the Service(s)
 within such country; (b) it has all requisite right, power, and authority to enter
 into this Agreement, perform its obligations, and grant the rights, licenses, and
 authorizations in this Agreement; (c) any information provided or made
 available by one party to the other party or its AffiLiates is at aLL times accurate,
 complete, and not misappropriated; (d) it is not subject to sanctions or
 otherwise designated on any List of prohibited or restricted parties or owned or
 controlled by such a party, including but not limited to the lists maintained by
 the United Nations Security Council, the US Government (e.g., the US
 Department of Treasury’s Specially Designated Nationals list and Foreign
 Sanctions Evaders list and the US Department of Commerce’s Entity List), the
 European Union or its member states, or other applicable government
 authority; and (e) it will comply with all applicable Laws in performance of its
 obligations and exercise of its rights under this Agreement.

     6. Indemnification.

 6.1 Your indemnification obligations. You will defend, indemnify, and hold
 harmless Amazon, and our officers, directors, employees, and agents, against
 any third-party claim, loss, damage, settLement, cost, expense, or other liability
 (including, without limitation, attorneys’ fees) (each, a “Claim”) arising from or
 related to (a) your non-compliance with applicable Laws; (b) Your Products,
 including the offer, saLe, fulfillment (except to the extent attributable to the FBA
 service), refund, cancellation, return, or adjustments thereof, Your Materials, any
 actual or aLLeged infringement of any Intellectual Property Rights by any of the
 foregoing, and any personal injury, death (to the extent the injury or death is
 not caused by Amazon), or property damage related thereto; (c) Your Taxes and
 duties or the collection, payment, or failure to collect or pay Your Taxes or
 duties, or the failure to meet tax registration obligations or duties; or (d) actual
 or alleged breach of any representations you have made.

6.2 Amazon’s indemnification obligations. Amazon wiLl defend, indemnify, and
hold harmless you and your officers, directors, employees, and agents against
any third-party Claim arising from or related to: (a) Amazon’s non-compliance
with applicable Laws; or (b) allegations that the operation of an Amazon Site
infringes or misappropriates that third party’s intelLectual property rights.
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 6.3 Process. If any indemnified Claim might adversely affect us, we may, to the
 extent permitted by applicable Law, voluntarily intervene in the proceedings at
 our expense. No party may consent to the entry of any judgment or enter into
 any settlement of an indemnified Claim without the prior written consent of the
 other party, which may not be unreasonably withheld; except that a party may
 settle any claim that is exclusively directed at and exclusively affects that party.

    7. Disclaimer & GeneraL Release.

 a. THE AMAZON SITES AND THE SERVICES, INCLUDING ALL CONTENT,
 SOFTWARE, FUNCTIONS, MATERIALS, AND INFORMATION MADE AVAILABLE ON
 OR PROVIDED IN CONNECTION WITH THE SERVICES, ARE PROVIDED “AS-IS.’ AS
 A USER OF THE SERVICES, YOU USE THE AMAZON SITES, THE SERVICES, AND
 SELLER CENTRAL AT YOUR OWN RISK. EXCEPT THOSE SET FORTH IN SECTION
 5 ABOVE, TO THE FULLEST EXTENT PERMISSIBLE BY LAW, WE AND OUR
 AFFILIATES DISCLAIM: (i) ANY REPRESENTATIONS OR WARRANTIES REGARDING
 THIS AGREEMENT, THE SERVICES OR THE TRANSACTIONS CONTEMPLATED BY
 THIS AGREEMENT, INCLUDING ANY IMPLIED WARRANTIES OF
 MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, OR NON-
 INFRINGEMENT; (ii) IMPLIED WARRANTIES ARISING OUT OF COURSE OF
 DEALING, COURSE OF PERFORMANCE, OR USAGE OF TRADE; AND (iii) ANY
 OBLIGATION, LIABILITY, RIGHT, CLAIM, OR REMEDY IN TORT, WHETHER OR
 NOT ARISING FROM OUR NEGLIGENCE. WE DO NOT WARRANT THAT THE
 FUNCTIONS CONTAINED IN THE AMAZON SITES AND THE SERVICES WILL MEET
 YOUR REQUIREMENTS OR BE AVAILABLE, TIMELY, SECURE, UNINTERRUPTED,
 OR ERROR FREE, AND WE WILL NOT BE LIABLE FOR ANY SERVICE
 INTERRUPTIONS, INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR
 OTHER INTERRUPTIONS THAT MAY AFFECT THE RECEIPT, PROCESSING,
 ACCEPTANCE, COMPLETION, OR SETTLEMENT OF ANY TRANSACTIONS.


 b. BECAUSE AMAZON IS NOT INVOLVED IN TRANSACTIONS BETWEEN
 CUSTOMERS AND SELLERS OR OTHER PARTICIPANT DEALINGS, IF A DISPUTE
 ARISES BETWEEN ONE OR MORE PARTICIPANTS, EACH PARTICIPANT RELEASES
 AMAZON (AND ITS AGENTS AND EMPLOYEES) FROM CLAIMS, DEMANDS, AND
 DAMAGES (ACTUAL AND CONSEQUENTIAL) OF EVERY KIND AND NATURE,
 KNOWN AND UNKNOWN, SUSPECTED AND UNSUSPECTED, DISCLOSED AND
 UNDISCLOSED, ARISING OUT OF OR IN ANY WAY CONNECTED WITH SUCH
 DISPUTES.

    8. Limitation of LiabiLity.

 WE WILL NOT BE LIABLE (WHETHER IN CONTRACT, WARRANTY, TORT
 (INCLUDING NEGLIGENCE, PRODUCT LIABILITY, OR OTHER THEORY), OR
 OTHERWISE) TO YOU OR ANY OTHER PERSON FOR COST OF COVER,
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 RECOVERY, OR RECOUPMENT OF ANY INVESTMENT MADE BY YOU OR YOUR
 AFFILIATES IN CONNECTION WITH THIS AGREEMENT, OR FOR ANY LOSS OF
 PROFIT, REVENUE, BUSINESS, OR DATA OR PUNITIVE OR CONSEQUENTIAL
 DAMAGES ARISING OUT OF OR RELATING TO THIS AGREEMENT, EVEN IF
 AMAZON HAS BEEN ADVISED OF THE POSSIBILITY OF THOSE COSTS OR
 DAMAGES. FURTHER, OUR AGGREGATE LIABILITY ARISING OUT OF OR IN
 CONNECTION WITH THIS AGREEMENT OR THE TRANSACTIONS
 CONTEMPLATED WILL NOT EXCEED AT ANY TIME THE TOTAL AMOUNTS
 DURING THE PRIOR SIX MONTH PERIOD PAID BY YOU TO AMAZON IN
 CONNECTION WITH THE PARTICULAR SERVICE GIVING RISE TO THE CLAIM.

     9. Insurance.

 If the gross proceeds from Your Transactions exceed the applicable Insurance
 Threshold during any month if the Elected Country is the United States, or each
 month over any period of three (3) consecutive months if the Elected Country is
 Canada or Mexico, or otherwise if requested by us, then within thirty (30) days
 thereafter, you will maintain at your expense throughout the remainder of the
 Term for each applicable Elected Country commercial general, umbrella or
 excess liability insurance with the Insurance Limits per occurrence and in
 aggregate covering liabilities caused by or occurring in conjunction with the
 operation of your business, including products, products/completed operations
 and bodily injury, with policy(ies) naming Amazon and its assignees as
 additional insureds. At our request, you will provide to us certificates of
 insurance, the full insurance policy, or other documents we may request for the
 coverage to the following address: c/o Amazon, P.O. Box 81226, Seattle, WA
 98108-1226, Attention: Risk Management.

   10. Tax Matters.

 As between the parties, you will be responsible for the collection, reporting, and
 payment of any and all of Your Taxes, except to the extent that (i) Amazon
 automatically calculates, collects, or remits taxes on your behalf according to
 applicable law; or (ii) Amazon expressly agrees to receive taxes or other
 transaction-based charges on your behalf in connection with tax calculation
 services made available by Amazon and used by you. You agree to and will
 comply with the Tax Policies. Alt fees and payments payable by you to Amazon
 under this Agreement or the applicable Service Terms are exclusive of any
 applicable taxes, deductions or withholding (including but not limited to cross
 border withholding taxes), and you will be responsible for paying Amazon any
 of Your Taxes imposed on such fees and any deduction or withholding required
 on any payment.

   11. Confidentiality arid PersonaL Data.
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 During the course of your use of the Services, you may receive Confidential
 Information. You agree that for the term of the Agreement and 5 years after
 termination: (a) all Confidential Information will remain Amazons exclusive
 property; (b) you will use Confidential Information only as is reasonably
 necessary for your participation in the Services; (c) you will not otherwise
 disclose Confidential Information to any other Person except as required to
 comply with the Law; (d) you will take all reasonable measures to protect the
 Confidential Information against any use or disclosure that is not expressly
 permitted in this Agreement; and (e) you will retain Confidential Information
 only for so long as its use is necessary for participation in the Services or to
 fulfill your statutory obligations (e.g. tax) and in all cases will delete such
 information upon termination or as soon as no longer required for the
 fulfillment of statutory obligations. The foregoing sentence does not restrict
 your right to share Confidential Information with a governmental entity that
 has jurisdiction over you, provided that you limit the disclosure to the minimum
 necessary and explicitly indicate the confidential nature of the shared
 information to the governmental entity. You may not issue any press release or
 make any public statement related to the Services, or use our name,
 trademarks, or logo, in any way (including in promotional material) without our
 advance written permission, or misrepresent or embellish the relationship
 between us in any way. You may only use the “Available at Amazon” badge as
 defined in and according to the Trademark Usage Guidelines available in Seller
 Central; you may not use our name, trademarks, or logos in any way (including
 in promotional material) not covered by the Trademark Usage Guidelines
 without our advance written permission.


 Generally, you may not use customer personal data in any way inconsistent with
 applicable Law. You must keep customer personal data confidential at all times
 (the above 5 years’ term limit does not apply to customer personal data).

   12. Force Majeure.

 We will not be liable for any delay or failure to perform any of our obligations
 under this Agreement by reasons, events or other matters beyond our
 reasonable control.

   13. ReLationship of Parties.

Subject to the Transaction Processing Service Terms (if the Elected Country for a
Service is the United States), you and we are independent contractors, and
nothing in this Agreement will create any partnership, joint venture, agency,
franchise, sales representative, or employment relationship between us. You will
have no authority to make or accept any offers or representations on our behalf.
This Agreement will not create an exclusive relationship between you and us.
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 Nothing expressed or mentioned in or implied from this Agreement is intended
 or will be construed to give to any person other than the parties to this
 Agreement any legal or equitable right, remedy, or claim under or in respect to
 this Agreement. This Agreement and all of the representations, warranties,
 covenants, conditions, and provisions in this Agreement are intended to be and
 are for the sole and exclusive benefit of Amazon, you, and customers. As
 between you and us, you will be solely responsible for all obligations associated
 with the use of any third party service or feature that you permit us to use on
 your behalf, including compliance with any applicable terms of use. You will not
 make any statement, whether on your site or otherwise, that would contradict
 anything in this section.

   14. Suggestions and Other Information.

 If you or any of your Affiliates elect to provide or make available suggestions,
 comments, ideas, improvements, or other feedback or materials to us in
 connection with or related to any Amazon Site or Service (including any related
 Technology), we will be free to use, disclose, reproduce, modify, license, transfer
 and otherwise distribute, and exploit any of the foregoing information or
 materials in any manner. In order to cooperate with governmental requests, to
 protect our systems and customers, or to ensure the integrity and operation of
 our business and systems, we may access and disclose any information we
 consider necessary or appropriate, including but not limited to user contact
 details, IP addresses and traffic information, usage history, and posted content.
 If we make suggestions on using the Services, you are responsible for any
 actions you take based on our suggestions.

   15. Modification.

 15.1. We will provide at least 15 days’ advance notice in accordance with
 Section 18 for changes to the Agreement.


15.2 However, we may change or modify the Agreement at any time with
immediate effect (a) for legal, regulatory, fraud and abuse prevention, or
security reasons; (b) to change existing features or add additional features to
the Services (where this does not materially adversely affect your use of the
Services); or (c) to restrict products or activities that we deem unsafe,
inappropriate, or offensive. We will notify you about any change or modification
in accordance with Section 18.

15.3 Your continued use of the Services after the effective date of any change
to this Agreement in accordance with this Section 15 will constitute your
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 acceptance of that change. If any change is unacceptable to you, you agree not
 to use the Services and to end the Agreement as described in Section 3.

    16. Password Security.

 Any password we provide to you may be used only during the Term to access
 Setter Central (or other tools we provide, as applicable) to use the Services,
 electronically accept Your Transactions, and review your completed
 transactions. You are solely responsible for maintaining the security of your
 password. You may not disclose your password to any third party (other than
 third parties authorized by you to use your account in accordance with this
 Agreement) and are solely responsible for any use of or action taken under your
 password. If your password is compromised, you must immediately change your
 password.

   17. Export.

 You will not directly or indirectly export, re-export, transmit, or cause to be
 exported, re-exported or transmitted, any commodities, software or technology
 to any country, individual, corporation, organization, or entity to which such
 export, re-export, or transmission is restricted or prohibited, including any
 country, individual, corporation, organization, or entity under sanctions or
 embargoes administered by the United Nations, US Departments of State,
 Treasury or Commerce, the European Union, or any other applicable
 government authority.

   1 8. MisceLlaneous.

 The Governing Laws will govern this Agreement, without reference to rules
 governing choice of laws or the Convention on Contracts for the International
 Sale of Goods. If the Elected Country is the United States, Canada, or Mexico,
 Amazon and you both consent that any dispute with Amazon or its Affiliates
or claim relating in any way to this Agreement or your use of the Services
will be resoLved by binding arbitration as described in this paragraph, rather
than in court, except that (i) either party may elect to proceed in a small claims
court that is a Governing Court if your claims qualify; (ii) you or we may bring
suit in the Governing Courts, submitting to the jurisdiction of the Governing
Courts and waiving our respective rights to any other jurisdiction, to enjoin
infringement or other misuse of intellectual property rights; and (iii) we may
bring any claims related to your sale of counterfeit products on the Amazon Site
in the Governing Courts or the court of your domicile or habitual residence and
seek any remedy available under law related to those claims. There is no judge
or jury in arbitration, and court review of an arbitration award is Limited.
However, an arbitrator can award the same damages and relief as a court
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 (including injunctive and declaratory relief or statutory damages), and must
 follow the terms of this Agreement as a court wouLd. Before you may begin an
 arbitration proceeding, you must send a letter notifying us of your intent to
 pursue arbitration and describing your claim to our registered agent, CSC 300
 Deschutes Way SW, Suite 208 MC-CSC1, Tumwater, WA 98501. The arbitration
 will be conducted by the American Arbitration Association (AAA) under its
 commercial rules. The expedited procedures of the AAA’s rules wilt apply only in
 cases seeking exclusively monetary relief under $50,000, and in such cases the
 hearing will be scheduled to take place within 90 days of the arbitrator’s
 appointment. For alt cases, the AAA commercial fee schedule governs the
 payment of all filing, administration and arbitrator fees. The underlying award
 in the arbitration may be appealed pursuant to the AAA’s Optional Appellate
 Arbitration Rules. Amazon and you each agree that any dispute resolution
 proceedings wilt be conducted only on an individual basis and not in a cLass,
 consolidated or representative action. If for any reason a claim proceeds in
 court rather than in arbitration Amazon and you each waive any right to a jury
 trial.


 You may not assign this Agreement, by operation of law or otherwise, without
 our prior written consent. Any attempt to assign or otherwise transfer in
violation of this section is void; provided, however, that upon notice to Amazon,
you may assign or transfer this Agreement, in whole or in part, to any of your
Affiliates as tong as you remain liable for your obligations that arose prior to the
effective date of the assignment or transfer under this Agreement. You agree
that we may assign or transfer our rights and obligations under this Agreement:
(a) in connection with a merger, consolidation, acquisition or sate of all or
substantially all of our assets or similar transaction; or (b) to any Affiliate or as
part of a corporate reorganization; and effective upon such assignment, the
assignee is deemed substituted for Amazon as the party to this Agreement.
Subject to that restriction, this Agreement wilt be binding on, inure to, and be
enforceable against the parties and their respective successors and assigns. We
may perform any of our obligations or exercise any of our rights under this
Agreement through one or more of our Affiliates. Amazon retains the right to
immediately haLt any of Your Transactions, prevent or restrict access to the
Services or take any other action to restrict access to or availability of any
inaccurate Listing, any inappropriately categorized items, any unlawful items, or
any items otherwise prohibited by applicable Program Policies. Because Amazon
is not your agent (except for the limited purpose set out in the Transaction
Processing Service Terms (if the Elected Country for a Service is the United
States)), or the customer’s agent for any purpose, Amazon will not act as either
party’s agent in connection with resolving any disputes between participants
related to or arising out of any transaction.
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 Amazon will provide notice to you under this Agreement by posting changes to
 Seller Central or to the applicable Amazon Services site to which the changes
 relate (such as the Developer Site accessible through your account), by sending
 you an email notification, or by similar means. You must send all notices and
 other communications relating to Amazon to our Selling Partner Support team
 via Seller Central, email, the Contact Us form, or similar means. We may also
 communicate with you electronically and in other media, and you consent to
 such communications. You may change your e-mail addresses and certain other
 information in Seller Central, as applicable. You will ensure that all of your
 information is up to date and accurate at all times.


 If any provision of this Agreement is deemed unlawful, void, or for any reason
 unenforceable, then that provision will be deemed severable from these terms
 and conditions and will not affect the validity and enforceability of any
 remaining provisions. If the Elected Country is Canada, then it is the express
 wish of the parties that this Agreement and the applicable Service Terms and
 Program Policies have been drafted in English. (The following is a French
 translation of the preceding sentence: Si le pays de service est le Canada, les
 parties conviennent que Ia présente autorisation et tous les termes et
 conditions applicables sy rattachant solent rédigés en anglais.) We may make
 available translations to this Agreement and the applicable Service Terms and
 Program Policies, but the English version will control. This Agreement
 represents the entire agreement between the parties with respect to the
 Services and related subject matter and supersedes any previous or
 contemporaneous oral or written agreements and understandings.


 Definitions


As used in this Agreement, the following terms have the following meanings:

“AffiLiate” means, with respect to any entity, any other entity that directly or
indirectly controls, is controlled by, or is under common control with that entity.

“Amazon Associated Properties” means any website or other online point of
presence, mobile application, service or feature, other than an Amazon Site,
through which any Amazon Site, or products or services available on any of
them, are syndicated, offered, merchandised, advertised, or described.

“Amazon Contracting Party” means the party outlined below.

    • If the Elected Country is Canada:
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                           Service                       Amazon Contracting Party

         SelLing on Amazon                                               ULC       -




         SeLling on Amazon (if your
         account is enabLed to list                     Amazon.com.ca ULC
         Optional Coverage Plans)

         FuLfiLlment by Amazon                          Amazon.com.ca ULC

                               .
                                   .                    Amazon Advertising Canada,
         Amazon Advertising
                                                        Inc.



           • If the Elected Country is Mexico:
     r

                           Service                       Amazon Contracting Party

                                                        Servicios ComerciaLes
         Selling on Amazon                              Amazon Mexico S. de R.L. de
                                                        C.V.

                                                         Servicios Comerciales
         FuLfillment by Amazon                           Amazon Mexico S. de R.L. de
                                                       ! C.V.




                                                        Servicios Comerciales
         Amazon Advertising                             Amazon Mexico S. de R.L. de        -




           .       If the Elected Country is the United States:


                           Service                       Amazon Contracting Party

         SeLling on Amazon                              Amazon.com Services LLC

 -       SelLing on Amazon (if your
         account is enabled to list                -    Amazon.com Services LLC
         OptionaL Coverage Plans)                             -                        -




         Fulfillment by Amazon                          Amazon.com Services LLC

         Amazon Advertising                             Amazon.corn Services LLC

                                                        Amazon Payments, Inc.,
                       .               .                Amazon Capital Services, Inc.,
         Transaction Processing
                                                        or Amazon.com Services LLC,
                                                                               .


               .

         Services
                                                        according to the Transaction
                                               -




                                                        Processing Services Terms

If you register for or use the Selling Partner API, the Amazon Contracting Party
is the Contracting Party that provides the appLicable Service you use in
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 connection with the Selling Partner API.


 “Amazon Site” means, as applicable, the CA Amazon Site, the MX Amazon Site,
 or the US Amazon Site.


 “CA Amazon Site” means the website, the primary home page of which is
 identified by the url www.amazon.ca, and any successor or replacement of such
 website.


 “Confidential Information” means information relating to us, to the Services,
 or Amazon customers that is not known to the general public including, but not
 limited to, any information identifying or unique to specific customers; reports,
 insights, and other information about the Services; data derived from the
 Services except for data (other than customer personal data) arising from the
 sale of your products comprising of products sold, prices, sates, volumes and
 time of the transaction; and technical or operational specifications relating to
 the Services. For the purposes of this Agreement, customer personal data
 constitutes Confidential Information at all times.


 “Content” means copyrightable works under applicable Law and content
 protected by database rights under applicable Law.


 “Excluded Products” means the items described on the applicable Restricted
 Products pag in Seller Central, any other applicable Program Policy, or any
 other information made available to you by Amazon.

 “Governing Courts” means the applicable one of the following:

    • the state or Federal court in King County, Washington (if the Elected Country is
      Canada, Mexico, or the United States),

 “Governing Laws” means the applicable one of the following:

    • the laws of the State of Washington, United States together with the Federal
      Arbitration Act and other applicable federal law (if the Elected Country is
      Canada, Mexico, or the United States),

 “Insurance Limits” means the applicable one of the following:

    • One Million Canadian Dollars ($1,000,000) (if the Elected Country is Canada),
    • Ten Million Mexican Pesos ($10,000,000) (if the ELected Country is Mexico),
    • One Million U.S. Dollars ($1,000,000) (if the Elected Country is the United
      States).

 “Insurance Threshold” means the applicable one of the following:
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    • Ten Thousand Canadian Dollars ($10,000) (if the Elected Country is Canada),
    • One Hundred Thousand Mexican Pesos ($100,000) (if the Elected Country is
      Mexico),
    • Ten Thousand U.S. Dollars ($10,000) (if the Elected Country is the United
      States).

 “Intellectual Property Right” means any patent, copyright, Trademark, domain
 name, moral right, trade secret right, or any other intelLectual property right
 arising under any Laws and all ancillary and related rights, including all rights of
 registration and renewal and causes of action for violation, misappropriation or
 infringement of any of the foregoing.


 “Law” means any Law, ordinance, rule, regulation, order, license, permit,
 judgment, decision, or other requirement, now or in the future in effect, of any
 governmental authority (e.g., on a federaL, state, or provincial level, as
 applicable) of competent jurisdiction.


 “LocaL Currency” means the applicable one of the following:

    • U.S. Dollars (if the Elected Country is the United States),
    • Canadian DolLars (if the Elected Country is Canada),
    • Mexican Pesos (if the Elected Country is Mexico),

 “MX Amazon Site” means the website, the primary home page of which is
 identified by the url www.amazon.com.mx, and any successor or replacement of
 such website.


 “Optional Coverage Plans” means warranties, extended service plans and
 related offerings, in each case as determined by us, that you offer.


“Order Information” means, with respect to any of Your Products ordered
through an Amazon Site, the order information and shipping information that
we provide or make available to you.

“Person” means any individual, corporation, partnership, Limited liability
company, governmental authority, association, joint venture, division, or other
cognizable entity, whether or not having distinct legal existence.


“Program Policies” means all policies and program terms provided on the
Program Policies page.


“Sales Proceeds” means the gross proceeds from any of Your Transactions,
including (a) all shipping and handling, gift wrap and other charges; (b) taxes
and customs duties to the extent specified in the applicable Tax Policies;and (c)
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 in the case of invoiced orders, any amounts that customers fail to pay to us or
 our Affiliates on or before the applicable invoice due date.


 “Setter CentraL” means the online portal and tools made available by Amazon
 to you, for your use in managing your orders, inventory, and presence on a
 particular Amazon Site or any other online point of presence.


 “Service” means each of the following services: Selling on Amazon, Fulfillment
 by Amazon, Amazon Advertising (including Amazon Sponsored Products), the
 Selling Partner APIs, and, if the Elected Country for a Service is the United
 States, the Transaction Processing Services, together in each case with any
 related services and materials we make available.


 “Service Terms” means the service terms applicable to each Service, which are
 made part of this Agreement upon the date you elect to register for or use the
 applicable Service, and any subsequent modifications we make to those terms.


 “Technology” means any: (a) ideas, procedures, processes, systems, methods of
 operation, concepts, principles, and discoveries protected or protectable under
 the Laws of any jurisdiction; (b) interfaces, protocols, glossaries, libraries,
 structured XML formats, specifications, grammars, data formats, or other similar
 materials; and (c) software, hardware, code, technology, or other functional
 item.


“Trademark” means any trademark, service mark, trade dress (including any
proprietary “look and feel”), trade name, other proprietary logo or insignia, or
any other source or business identifier, protected or protectable under any Laws.

“US Amazon Site” means that website, the primary home page of which is
identified by the URL www.amazon.com, and any successor or replacement of
such website.


“Your Materials” means all Technology, Your Trademarks, Content, Your
Product information, data, materials, and other items or information provided
or made available by you or your Affiliates to Amazon or its Affiliates.

“Your Personnel” means any third party warranting, administering or otherwise
involved in the offer, sale, performance, or fulfillment of Your Products,
including any of your employees, representatives, agents, contractors, or
subcontractors.

“Your Product” means any product or service (including Optional Coverage
Plans) that you: (a) have offered through the Selling on Amazon Service; (b)
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 have made available for advertising through the Amazon Advertising Service; or
 (c) have fulfilled or otherwise processed through the Fulfillment by Amazon
 Service.


 “Your Sales Channels” means all sales channels and other means through
 which you or any of your Affiliates offers products or services, other than
 physical stores.

 “Your Taxes” means any and all sales, goods and services, use, excise, premium,
 import, export, value added, consumption, and other taxes, regulatory fees,
 levies (specifically including environmental levies), or charges and duties
 assessed, incurred, or required to be collected or paid for any reason (a) in
 connection with any advertisement, offer or sale of products or services by you
 on or through or in connection with the Services; (b) in connection with any
 products or services provided for which Your Products are, directly or indirectly,
involved as a form of payment or exchange; or (c) otherwise in connection with
any action, inaction, or omission of you or your Affiliates, or any Persons
providing products or services, or your or their respective employees, agents,
contractors, or representatives, for which Your Products are, directly or
indirectly, involved as a form of payment or exchange. Also, if the Elected
Country is the United States, Mexico, or Canada as it is used in the Fulfillment
by Amazon Service Terms, this defined term also means any of the types of
taxes, duties, levies, or fees mentioned above that are imposed on or collectible
by Amazon or any of its Affiliates in connection with or as a result of fulfillment
services including the storage of inventory or packaging of Your Products and
other materials owned by you and stored by Amazon, shipping, gift wrapping,
or other actions by Amazon in relation to Your Products pursuant to the
Fulfillment by Amazon Service Terms.


“Your Trademarks” means Trademarks of yours that you provide to us: (a) in
non-text form for branding purposes; and (b) separate from (and not embedded
or otherwise incorporated in) any product specific information or materials.


“Your Transaction” means any sale of Your Product(s) through an Amazon Site.

Selling on Amazon Service Terms


The Selling on Amazon Service (“SelLing on Amazon”) is a Service that allows
you to offer certain products and services directly on the Amazon Sites.


These Selling on Amazon Service Terms are part of the Agreement, but, unless
specifically provided otherwise, concern and apply only to your participation in
Selling on Amazon. BY REGISTERING FOR OR USING THE SELLING ON AMAZON
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 SERVICE, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT)
 AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING THESE SELLING ON
 AMAZON SERVICE TERMS. NOTWITHSTANDING THE PREVIOUS SENTENCE, IF
 YOU HAVE ENTERED INTO A SEPARATE AGREEMENT THAT PERMITS YOU TO
 OFFER YOUR PRODUCTS THROUGH A PARTICULAR AMAZON SITE (E.G., A
 MERCHANTS@ AMAZON.COM PROGRAM AGREEMENT, MERCHANTS
 @AMAZON.CO.JP PROGRAM AGREEMENT OR ANY PREDECESSOR OF THOSE
 AGREEMENTS), THEN TO THE EXTENT THAT YOU CONTINUE TO LIST AND
 SELL YOUR PRODUCTS ON THAT AMAZON SITE PURSUANT TO SUCH
 SEPARATE AGREEMENT, TRANSACTIONS OF YOUR PRODUCTS ON THAT
 AMAZON SITE AND ANY TAX SERVICES WE MAKE AVAILABLE UNDER THAT
 AGREEMENT ARE GOVERNED BY THE TERMS OF THAT AGREEMENT AND NOT
 BY THESE SELLING ON AMAZON SERVICE TERMS.


 S-i Your Product Listings and Orders.


 S-1.i Products and Product Information. You will provide accurate and
complete Required Product Information for each product or service that you
offer through any Amazon Site and promptly update that information as
necessary to ensure it at all times remains accurate and complete. You will also
ensure that Your Materials, Your Products (including packaging) and your offer
and subsequent sale of any of the same on any Amazon Site comply with all
applicable Laws (including all minimum age, marking and labeling
requirements) and do not contain any sexually explicit (except to the extent
expressly permitted under our applicable Program Policies), defamatory or
obscene materials. You may not provide any information for, or otherwise seek
to offer any Excluded Products on any Amazon Sites; or provide any URL Marks
for use, or request that any URL Marks be used, on any Amazon Site. If you offer
a product for sale on an Amazon Site that requires a warning under California
Health & Safety Code Section 25249.6 (a “Proposition 65 Warning”) you (a) will
provide us with such warning in the manner specified in our Program Policies,
(b) agree that our display of a Proposition 65 Warning on a product detail page
is confirmation of our receipt of that warning, and (c) will only revise or remove
a Proposition 65 Warning for a product when the prior warning is no longer
legally required.


S-i.2 Product Listing; Merchandising; Order Processing. We will enable you to
list Your Products on a particular Amazon Site, and conduct merchandising and
promote Your Products in accordance with the Agreement (including via the
Amazon Associated Properties or any other functions, features, advertising, or
programs on or in connection with the applicable Amazon Site). We may use
mechanisms that rate, or allow shoppers to rate, Your Products and your
performance as a seller and Amazon may make these ratings and feedback
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 publicly available. We wiLt provide Order Information to you for each order of
 Your Products through the applicable Amazon Site. We will also receive all Sales
 Proceeds on your behalf for each of these transactions and will have exclusive
 rights to do so, and will remit them to you in accordance with these Selling on
 Amazon Service Terms. We may permit certain customers to place invoiced
 orders for Your Products, in which case remittance of Sales Proceeds may be
 delayed according to each customer’s invoicing terms. You will accept and fulfill
 invoiced orders in the same manner as you accept and fulfill non-invoiced
 orders, except as otherwise provided in this Agreement.


 5-1.3 Shipping and Handling Charges. For Your Products ordered by customers
 on or through an Amazon Site that are not fulfilled using Fulfillment by
 Amazon, you will determine the shipping and handling charges subject to our
 Program Policies and standard functionality (including any category-based
 shipping and handling charges we determine, such as for products offered by
 sellers on the Individual selling plan and BMVD Products generally). When we
 determine the shipping and handling charges, you will accept them as payment
 in full for your shipping and handling. Please refer to the Fulfillment by Amazon
 Service Terms for Your Products that are fulfilled using Fulfillment by Amazon.

 5-1.4 Credit Card Fraud and Unpaid Invoices. We will bear the risk of (a) credit
 card fraud (i.e., a frauduLent purchase arising from the theft and unauthorized
 use of a third party’s credit card information) occurring in connection with Your
 Transactions, and (b) late payments or defaults by customers in connection with
 invoiced orders for Your Products, except, in each case, in connection with
 Seller-Fulfilled Products that are not fulfilled strictly in accordance with the
 Order Information and Shipment Information. You will bear all other risk of
 fraud or loss.

 S-2 Sate and Fulfillment; Refunds and Returns.


5-2.1 SaLe and Fulfillment. Other than as described in the Fulfillment by
Amazon Service Terms for each Amazon Site for which you decide to register or
use the Selling on Amazon Service, you will: (a) source, offer, sell, and fulfill your
Seller-Fulfilled Products, and source, offer, and sell your Amazon-Fulfilled
Products, in each case in accordance with the terms of the applicable Order
Information, this Agreement, and all terms provided by you or us and displayed
on the applicable Amazon Site at the time of the order and be solely
responsible for and bear all risk for those activities; (b) package each of Your
Products in a commercially reasonable manner complying with all applicable
packaging and labeling requirements, including any warnings or instructions
necessary to safely use Your Products, and ship each of Your Products on or
before its Expected Ship Date; (c) retrieve Order Information at least once each
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 business day; (d) onty cancel Your Transactions as permitted pursuant to your
 terms and conditions appearing on the applicable Amazon Site at the time of
 the applicable order or as may be required under this Agreement; (e) fulfill Your
 Products throughout the Etected Country (except to the extent prohibited by
 Law or this Agreement); (f) provide to Amazon information regarding fulfillment
 and order status and tracking (to the extent available), in each case as requested
 by us using the processes designated by us, and we may make any of this
 information publicly available; (g) comply with all Street Date instructions; (h)
 ensure that you are the seller of each of Your Products; (I) include an order-
 specific packing slip, and, if applicable, any tax invoices, within each shipment of
 Your Products; (j) identify yourself as the seller of each of Your Products on all
 packing slips or other information included or provided in connection with Your
 Products and as the Person to which a customer may return the applicable
 product; and (k) not send customers emails confirming orders or fulfillment of
 Your Products. If any of Your Products are fulfilled using Fulfillment by Amazon,
 the Fulfillment by Amazon Service Terms for the applicable Amazon Site will
 apply to the storage, fulfillment, and delivery of such Amazon-Fulfilled
 Products.

 5-2.2 CancelLations, Returns, and Refunds. The Amazon Refund Policies for the
 applicable Amazon Site will apply to Your Products. Subject to Section F-6, for
 any of Your Products fulfilled using Fulfillment by Amazon, you will promptly
 accept, calculate, and process cancellations, returns, refunds, and adjustments
 in accordance with this Agreement and the Amazon Refund Policies for the
 applicable Amazon Site, using functionality we enable for your account. Without
 limiting your obligations, we may in our sole discretion accept, calculate, and
 process cancellations, returns, refunds, and adjustments for the benefit of
 customers. You will route any payments to customers in connection with Your
 Transactions through Amazon. We will make any payments to customers in the
 manner we determine, and you will reimburse us for all amounts we pay.


 5-3 ProbLems with Your Products.


S-3.1 Delivery Errors and Nonconformities; Recalls. You are responsible for
any non-performance, non-delivery, misdelivery, theft, or other mistake or act
in connection with the fulfillment of Your Products, except to the extent caused
by: (a) credit card fraud for which we are responsible under Section -1.4; or (b)
our failure to make available to you Order Information as it was received by us
or resulting from address verification. Notwithstanding the previous sentence,
for those of Your Products that are fulfilled using Fulfillment by Amazon, if any,
the Fulfillment by Amazon Service Terms for the applicable Amazon Site will
apply to non-delivery, misdelivery, theft, or other mistake or act in connection
with the fulfillment of those of Your Products. You are also responsible for any
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 non-conformity or defect in, any public or private recall of, or safety alert of any
 of Your Products or other products provided in connection with Your Products.
 You will notify us promptly as soon as you have knowledge of any public or
 private recalls, or safety alerts of Your Products or other products provided in
 connection with Your Products.


 S-3.2 A-to-z Guarantee and Chargebacks if the ELected Country is Canada or
 Mexico. If we inform you that we have received or initiated a claim under the ‘A
 to-z Guarantee” offered on a particular Amazon Site or other dispute relating to
 the offer, sale or fulfillment of Your Products (other than a chargeback),
 concerning one of Your Transactions, you will have 30 days to appeal our
 decision of the cLaim. If we find that a claim, chargeback, or dispute is your
 responsibility, you (a) will not take recourse against the customer, and (b) are
 responsible for reimbursing us in accordance with the Service Fee Payments
 section of this Agreement for the amount paid by the customer (including taxes
 and shipping and handling charges, but excluding any Referral Fees that we
 retained as defined in Section S-4), and all other fees and expenses associated
 with the original transaction (such as credit card, bank, payment processing, re
 presentment, or penalty fees) and any related chargebacks or refunds, to the
 extent payable by us.


 S-3.3 A-to-z Guarantee, A-to-z Claims Process, and Chargebacks if the
 Elected Country is the United States. Claims that we receive or initiate under
 the “A-to-z Guarantee” or the “A-to-z Claims Process for Property Damage and
 Personal Injury” will be governed by the Program Policy for such claims.



 If we find that any claim, chargeback, or dispute is your responsibility, (I) you
 wilt not take recourse against the customer, and (ii) if Amazon resolves the claim
 directly with the customer and does not waive its right of indemnification, you
 will reimburse us in accordance with Section 2 of this Agreement to the extent
 of your responsibility (not to exceed the amount paid by Amazon to resolve the
 claim), including taxes and shipping and handling charges (but excluding any
 Referral Fees that we retained as defined in Section S-4), and all other fees and
 expenses associated with the original transaction (such as credit card, bank,
 payment processing, re-presentment, or penalty fees) and any related
 chargebacks or refunds.


 5-4 Compensation.


You will pay us: (a) the applicable Referral Fees; (b) any applicable Variable
Closing Fee; (c) the non-refundable Selling on Amazon Subscription Fee in
advance each month; and (d) any other applicable fees described in this
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 Agreement (including any applicable Program Policies). “Selling on Amazon
 Subscription Fee” means the fee specified as such on the Selling on Amazon
 Fee Schedule for the applicable Amazon Site at the time such fee is payabLe.
 With respect to each of Your Transactions: (i) “Sales Proceeds” has the meaning
 set out in this Agreement; (ii) “Variable Closing Fee means the applicable fee,
 if any, as specified on the Variable Closing Fee Schedule for the applicable
 Amazon Site; and (iii) “ReferraL Fee” means the applicable fee based on the
 Sales Proceeds from Your Transaction through the applicabLe Amazon Site
 specified on the Selling on Amazon Fee Schedule for that Amazon Site at the
 time of Your Transaction, based on the categorization by Amazon of the type of
 product that is the subject of Your Transaction; provided, however, that Sales
 Proceeds will not include any shipping charges set by us in the case of Your
 Transactions that consist solely of products fulfilled using FulfiLlment by
 Amazon.


 S-5 Remittance of Sales Proceeds & Refunds.


 Except as provided in Section 2 of the General Terms orotherwise stated in this
 Agreement, we wiLl remit to you your available balance on a bi-weekly (14 day)
 (or at our option, more frequent) basis, which may vary for each Elected
 Country. For each remittance, your available balance is equal to any Sales
 Proceeds not previously remitted to you as of the applicable Remittance
 Calculation Date (which you will accept as payment in full for Your
 Transactions), less: (a) the Referral Fees; (b) the applicable Variable Closing Fee;
 (c) any Selling on Amazon Subscription Fees; (d) any other applicable fees
 described in this Agreement (including any applicable Program Policies); (e) any
 amounts we require you to maintain in your account balance pursuant to this
 Agreement (including payments withheld pursuant to Section 2 of the General
 Terms, Section S-1.4, Section S-3.2, Section S-3.3, and applicable Program
 Policies); and (f) any taxes that Amazon automatically calculates, collects and
 remits to a tax authority according to applicable law, as specified in the Tax
 Policies.

 We may establish a reserve on your account based on our assessment of risks to
 Amazon or third parties posed by your actions or performance, and we may
 modify the amount of the reserve from time to time at our sole discretion.


When you either initially provide or later change Your Bank Account
information, the Remittance Calculation Date may be deferred by up to 14 days.
For sellers that registered after October 30, 2011 and are on the Individual
selling plan, the remittance amount will not include Sales Proceeds from the
14-day period before the date of remittance. If you refund money to a customer
in connection with one of Your Transactions, and the refund is routed through
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 us (or our AffiLiate), on the next available Remittance Calculation Date we will
 refund to you the amount of the Referral Fee paid by you to us attributable to
 the amount of the customer refund (including refunded taxes and customs
 duties only to the extent specified in the applicable Tax Policies), less the
 Refund Administration Fee for each of Your Products refunded that is not a
 BMVD Product, which amount we may retain as an administrative fee; provided,
 however, that in the case of a complete refund of Sales Proceeds for a Media
 Product, we will refund to you the full amount of any Variable Closing Fee paid
 by you to us (and in the case of a partial refund of Sales Proceeds for a Media
 Product, we will not refund to you any portion of any Variable Closing Fee paid
 by you to us). We will remit any amounts to be refunded by us pursuant to this
 subsection from time to time together with the next remittance to be made by
 us to you. “Refund Administration Fee” means the applicable fee described on
 the Refund Administration Fee Schedule for the applicable Amazon Site.

 Net Sales Proceeds from non-invoiced orders will be credited to your available
 balance when they are received by us or our Affiliates. Sales Proceeds from
 invoiced orders will be credited to your available balance: (a) if you have elected
 in advance to pay a fee to accelerate remittance of Sales Proceeds from invoiced
 orders, on the day all of Your Products included in an invoiced orders are
 shipped; or (b) otherwise, no later than the seventh day following the date that
 an invoiced order becomes due.


 5-6 Amazon’s Websites and Services.

 Amazon has the right to determine, the design, content, functionality,
 availability and appropriateness of its websites, selection, and any product or
 listing in the Amazon Stores, and all aspects of each Service, including your use
 of the same. Amazon may assign any of these rights or delegate any of its
 responsibilities.


 S-7 Continuing Guarantees

 Guarantees. We require the following continuing guarantees from you.


S-7.1 Pesticides. If any of Your Products is a “pesticide” being offered or sold in
the United States or other product regulated under the US Federal Insecticide,
Fungicide, and Rodenticide Act (“FIFRA”) or its implementing regulations, then
you provide to us the following continuing guaranty that: (a) you are a resident
of the United States; and (b) with respect to each such product, the pesticides
and other FIFRA regulated products comprising each sale, shipment, or other
delivery made previously or hereafter are: (i) lawfully registered with the US
Environmental Protection Agency at the time of sale, shipment, or delivery, or
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 fully qualified for a specific exemption from the FIFRA registration requirements
 at the time of sale, shipment, or delivery, (ii) compliant with all requirements of
 FIFRA and its implementing regulations at the time of sale, shipment, or
 delivery, and (iii) provided by you in the originaL, unbroken packaging.

 S-7.2 Foods, Drugs, Medical Devices, and Cosmetics. If any of Your Products is a
 “food”, “drug”, “medical device”, or “cosmetic” being offered or sold in the
 United States or other product regulated under the U.S. Federal Food, Drug, and
 Cosmetic Act (“FFDCA”) or its implementing regulations, then you provide us
 with the following continuing guaranty that with respect to all such products
 comprising each sale, shipment, or other delivery made previously or hereafter
 are: (I) not adulterated or misbranded within the meaning of the FFDCA, (ii)
 compliant with all requirements of FFDCA and its implementing regulations at
 the time of sale, shipment, or delivery, and (iii) provided by you in the original,
 unbroken packaging.


 Selling on Amazon Definitions


 “Amazon-FuLfiLled Products” means any of Your Products that are fulfilled
 using the Fulfillment by Amazon Service.


 “Amazon Refund Policies” means the return and refund policies published on
 the applicable Amazon Site and applicable to products and services offered via
 that Amazon Site.


 “BMVD Product” means any book, magazine or other publication, sound
 recording, video recording, and/or other media product in any format, including
 any subscription, in each case excluding any software product, computer game,
 and/or video game.

 “ExcLuded Offer” means any discount, rebate, promotional offer, or other term
 of offer and/or sate that you: (a) have attempted to make available through a
 particular Amazon Site but that we do not honor or support (but only until such
time as we honor or support the same on such Amazon Site); or (b) make
available solely to third parties that either (i) purchase products solely for resale
and who are not end users of such products (i.e., wholesale purchasers), or (ii) if
the Elected Country is Canada, Mexico, or the United States, have affirmatively
elected and opted-in to participate in your or one of your Affiliates’
membership-based customer loyalty or customer incentive programs.


“Expected Ship Date” means, with respect to any of Your Products, either: (a)
the end of the shipping availability period (which begins as of the date on which
the relevant order is placed by the customer), or the shipping availability date,
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 as applicable, specified by you in the relevant inventory/product data feed for
 Your Product; or (b) if you do not specify shipping availability information in
 such inventory/product data feed or that Your Product is in a product category
 that Amazon designates as requiring shipment within two (2) business days, two
 (2) business days after the date on which the relevant order is placed by the
 customer.

 “Media Product” means any book, magazine or other publication, sound
 recording, video recording, software product, computer game, videogame, or
 other media product in any format, incLuding any related subscription, offered
 through an Amazon Site.


 “Purchase Price” means the total amount payable or paid for Your Product
 (including taxes and shipping and handling charges only to the extent specified
 in the applicable Tax Policies).


 “Remittance Calculation Date” is the date that is two (2) business days prior to
 the date of remittance (the “Remittance Calculation Date”).


 “Required Product Information” means, with respect to each of Your Products
 in connection with a particular Amazon Site, the following (except to the extent
 expressly not required under the applicable Program Policies): (a) description,
 including as applicable, location-specific availability and options, scheduling
 guidelines and service cancellation policies; (b) SKU and UPC/EAN/JAN
 numbers, and other identifying information as Amazon may reasonably request;
 (c) information regarding in-stock status and availability, shipping limitations or
 requirements, and Shipment Information (in each case, in accordance with any
 categorizations prescribed by Amazon from time to time); (d) categorization
 within each Amazon product category and browse structure as prescribed by
 Amazon from time to time; (e) digitized image that accurately depicts only Your
 Product, complies with all Amazon image guidelines, and does not include any
 additional logos, text or other markings; (f) Purchase Price; (g) shipping and
 handling charge (in accordance with our standard functionality); (h) any text,
 disclaimers, warnings, notices, labels, warranties, or other content required by
 applicable Law to be displayed, or that are necessary for the safe use of Your
Product, in connection with the offer, merchandising, advertising, or sale of
Your Product; (i) any vendor requirements, restocking fees or other terms and
conditions applicable to such product that a customer should be aware of prior
to purchasing the product; (j) brand; (k) model; (I) product dimensions; (m)
weight; (n) a delimited list of technical specifications; (o) SKU and UPC/EAN/JAN
numbers (and other identifying information as we may reasonably request) for
accessories related to Your Product that is available in our catalog; (p) the state
or country Your Product ships from; and (q) any other information reasonably
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 requested by us (e.g., the condition of used or refurbished products; and
 invoices and other documentation demonstrating the safety and authenticity of
 Your Products).


 “SelLer-FuLfilLed Products” means any of Your Products that are not fulfilled
 using the Fulfillment by Amazon Service.


 “Shipment Information” means, with respect to any of Your Products, the
 estimated or promised shipment and delivery date.


 “Street Date” means the date(s), if any, specified by the manufacturer,
 distributor, and/or Licensor of a product as the date before which specified
 information regarding such product (e.g., title of a book) should not be
 disclosed publicly, or such product should not be delivered or otherwise made
 available to customers.


 “URL Marks” means any Trademark, or any other logo, name, phrase, identifier,
 or character string, that contains or incorporates any top level domain (e.g.,
 .com, .edu, .ca, .fr, .jp) or any variation of a top level domain (e.g., dot corn,
 dotcom, net, or corn).

 “Your Transaction” is defined in the General Terms of this Agreement; however,
 as used in these Selling on Amazon Service Terms, it means any and alL such
 transactions through Selling on Amazon only.


 FuLfilLment by Amazon Service Terms


 Fulfillment by Amazon (“FBA”) provides fulfillment and associated services for
 Your Products.


 These FBA Service Terms are part of the Agreement, and, unless specifically
 provided otherwise, concern and apply only to your participation in FBA. BY
 REGISTERING FOR OR USING FBA, YOU (ON BEHALF OF YOURSELF OR THE
 BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE AGREEMENT,
 INCLUDING THESE FBA SERVICE TERMS. You expressly agree that Amazon may
 engage its Affiliate(s) or a third party in order to complete one or more of the
 fulfillment and associated services outlined below.


 Fulfillment Services


 F-i Your Products
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 Once you are accepted into FBA, you must apply to register each product you
 offer that you wish to include in the FBA program. We may refuse registration in
 FBA of any product, including on the basis that it is an FBA Excluded Product or
 that it violates applicable Program PoLicies. You may at any time withdraw
 registration of any of Your Products from FBA.


 F-2 Product and Shipping Information


 You will, in accordance with applicable Program Policies, provide accurate and
 complete information about Your Products registered in FBA, and will provide
 Fulfillment Requests for any Units fulfilled using FBA that are not sold through
 an Amazon Site (“Multi-ChanneL FulfiLlment Units”). You will promptly update
 any information about Your Products in accordance with our requirements and
 as necessary so that the information is at all times accurate and complete.


 F-3 Shipping to Amazon


 F-3.1 Except as otherwise provided in Section F-3.4 and Section F-5, FBA is
 limited to Units that are shipped to and from fulfillment centers located within
 the applicable Elected Country, to be delivered to customers in the same
 Elected Country only. You will ship Units to us in accordance with applicable
 Program Policies. You will be responsible for all costs incurred to ship the Units
 to the shipping destination (including costs of freight and transit insurance) and
 Amazon will not pay any shipping costs. You are responsible for payment of all
 customs, duties, taxes, and other charges. In the case of any improperly
 packaged or labeled Unit, we may return the Unit to you at your expense
 (pursuant to Section F-7) or re-package or re-label the Unit and charge you an
 administrative fee.

 F-3.2 You will not deliver to us any Unsuitable Unit; we may reject any shipment
 of Your Products.

 F-3.3 We may, at our option, allow you to ship Units at your expense (as
 described in Section F-9.2) to fulfillment centers using discounted shipping
 rates that we may make available to you for certain carriers. In such event, you
 wilt use the processes and supply the information that we require for you to
 obtain such discounted rates. You also must comply with standard operating
 procedures, weight and size restrictions, and other shipping requirements of the
 applicable carriers. If we provide you with the estimated shipping costs prior to
 shipment, you acknowledge and agree that actual shipping costs may vary from
 such estimates. In addition, if the weight of the Unit, as determined by the
 applicable carrier, differs from that submitted by you to us for purposes of
 determining the estimated shipping costs, then: (a) you may be charged more
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 than the estimated shipping costs if the carrier determines that such Unit
 weighs more than as submitted by you; or (b) you may be charged the full
 amount of the estimated shipping costs even if the carrier determines the
 weight to be Less than that submitted by you. You will not use carrier account
 information (e.g., carrier account number, amount of shipping rates, etc.) for
 any purpose, nor disclose such information to any third party, and you will
 protect such information as Amazons confidential information in accordance
 with Section 11 of the General Terms of this Agreement. As between you, us,
 and the applicabLe carrier, you will be the shipper of record, and we will make
 payment to the carrier with respect to the shipment of all Units using such
 discounted rates. Title and risk of loss for any Unit shipped using discounted
 rates provided by us under this Section wilt remain with you, and our provision
 of such shipping rates wilt not create any liabiLity or responsibility for us with
 respect to any delay, damage, or loss incurred during shipment. You authorize
 the applicable carrier to provide us with aLl shipment tracking information.


 F-3.4 If you ship Units from outside the applicable Elected Country to
 fulfillment centers, you will list yourself as the importer/consignee and
 nominate a customs broker. If Amazon is Listed on any import documentation,
 Amazon reserves the right to refuse to accept the Units covered by the import
 documents and any costs assessed against or incurred by Amazon wiLl be
 cottected from Your Bank Account, deducted from amounts payable to you, or
 by other method at our election.

 F-4 Storage


 We will provide storage services as described in these FBA Service Terms once
 we confirm receipt of delivery. We will keep electronic records that track
 inventory of Units by identifying the number of Units stored in any fulfillment
 center. We will not be required to physically mark or segregate Units from other
inventory units (e.g., products with the same Amazon standard identification
number) owned by us, our Affiliates or third parties in the applicable fulfillment
center(s). If we elect to commingle Units with such other inventory units, both
parties agree that our records will be sufficient to identify which products are
Units. We may move Units among facilities. If there is a loss of or damage to any
Units while they are being stored, we will, compensate you in accordance with
the FBA Guidelines, and you will, at our request, provide us a valid tax invoice
for the compensation paid to you. If we compensate you for a Unit, we will be
entitled to dispose of the Unit pursuant to Section F-7. At all other times, you
will be solely responsible for any loss of, or damage to, any Units. Our
confirmed receipt of delivery does not; (a) indicate or imply that any Unit has
been delivered free of loss or damage, or that any toss or damage to any Unit
later discovered occurred after confirmed receipt of delivery; (b) indicate or
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 imply that we actually received the number of Units of Your Product(s) specified
 by you for such shipment; or (c) waive, limit, or reduce any of our rights under
 this Agreement. We reserve the right to change scheduling restrictions and
 volume limitations on the delivery and storage of your inventory in fulfillment
 centers in accordance with Section 15 of the General Terms, and you will comply
 with any of these restrictions or [imitations.

 F-5 FuLfilLment


 As part of our fulfillment services, we will ship Units from our inventory of Your
 Products to the shipping addresses in the Elected Country included in valid
 customer orders, or submitted by you as part of a Fulfillment Request. We may
 ship Units together with products purchased from other merchants, including
 any of our Affiliates. We aLso may ship Units separately that are included in a
 single Fulfillment Request. If you participate in our export fulfillment services,
 we will also ship Your Products that we determine to be eligible (each, a
 “Foreign-ELigibLe Product”) to Foreign Addresses within countries we
 determine to be eligible for foreign shipments, subject to the additional terms
 on foreign shipments in the applicable FBA Guidelines.


 F-6 Customer Returns


 F-6.1 You will be responsible for and will accept and process returns of, and
 provide refunds and adjustments for, any Multi-Channel Fulfillment Units in
 accordance with the Agreement (including the applicable Program Policies).


 F-6.2 We will receive and process returns of any Amazon Fulfillment Units that
 were shipped to addresses within the Elected Country in accordance with the
 terms of your Seller Agreement, these FBA Service Terms, and the Program
 Policies. Any Sellable Units that are also Amazon Fulfillment Units and that are
 properly returned will be placed back into the inventory of Your Products in the
 FBA Program. We may fulfill customer orders for Your Products with any
 returned Amazon Fulfillment Units. Except as provided in Section F-7, you will
 retake title of all Units that are returned by customers.


F-6.3 Subject to Section F-7, we will, at your direction, either return or dispose
of any Unit that is returned to us by a customer and that we determine is an
Unsuitable Unit.

F-6.4 If Amazon receives a customer return of a Multi-Channel Fulfillment Unit,
you will direct us to return or dispose of the Unit at your own cost failing which
we may dispose of the Unit as provided in Section F-7.
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 F-7 Returns to You and DisposaL


 F-Ti You may, at any time, request that Units be returned to you or that we
 dispose of Units.


 F-7.2 We may with notice return Units to you, including upon termination of
 these FBA Service Terms. Returned Units will be sent to your designated
 shipping address. However, if (a) the designated shipping address we have for
 you is outdated or incorrect, (b) you have not provided or, upon our request,
 confirmed a designated shipping address in the Elected Country, or (c) we
 cannot make arrangements for you to pay for the return shipment, then the
 Unit(s) wilt be deemed abandoned and we may elect to dispose of them as
 appropriate based on the inventory (e.g., by selling, donating, or recycling it)
 and retain any proceeds we may receive from the disposal.

 We may dispose of any Unsuitable Unit (and you will be deemed to have
 consented to our action) (d) immediately if we determine that (i) the Unit
 creates a safety, heaLth, or liability risk to Amazon, our personnel, or any third
 party; (ii) you have engaged in fraudulent or illegal activity; or (iii) we have
 cause to terminate your use of Services with immediate effect pursuant to
 Section 3 and are exposed to liability towards a third party; (e) if you fail to
 direct us to return or dispose of any Unsuitable Unit within thirty (30) days after
 we notify you that the Unit has been recalled; or (f) if you fail to indicate your
 removal preference for any Unsuitable Unit such disposal may be in any manner
 we deem appropriate (e.g., by selling, donating, or recycling,) and we may retain
 any proceeds received.


 We will schedule removal of your Unsuitable Units, whether for return to you,
 Liquidation or disposal on your behalf, at our earliest discretion (or as otherwise
 specified in the appLicable Program Policies). In addition, you will reimburse us
 for expenses we incur in connection with any Unsuitable Units.


 F-7.3 You may, at any time, request that we dispose of Units. In this case, we
may dispose of these Units as appropriate based on the inventory (e.g., by
selling, recycling, donating, or destroying it) and retain any proceeds we may
receive from the disposal. Title to each disposed Unit will transfer to us (or a
third party we select such as a charity) at no cost, free and clear of any liens,
claims, security interests or other encumbrances to the extent required to
dispose of the Unit, and we may retain any proceeds, we may receive from the
disposal.


F-7.4 You wiLL promptly notify us of any recalls or potential recalls, or safety
alerts of any of Your Products and cooperate and assist us in connection with
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 any recalls or safety alerts, including by initiating the procedures for returning
 items to you under our standard processes. You will be responsible for all costs
 and expenses you, we or any of our or your Affiliates incur in connection with
 any recall or potential recall or safety alerts of any of Your Products (including
 the costs to return, store, repair, liquidate, or deLiver to you or any vendor any of
 these products).

 F-8 Customer Service


 F-8.1 For Multi-Channel Fulfillment Units we will have no customer service
 obligations other than to pass any inquiries to your attention at the contact you
 provide, and to make available a reasonable amount of information regarding
 the status of the fulfillment of Your Products if you request it and if and to the
 extent we possess the requested information. You will ensure that all of your
 policies and messaging to your customers regarding shipping of Your Products
 and other fulfillment-related matters, reflect our policies and requirements,
 including with regard to shipping methods, returns, and customer service; and,
 you will conspicuously display on your website(s), in emails or in other media or
 communications any specific disclosures, messaging, notices, and policies we
 require.


 F-8.2 We will be responsible for all customer service issues relating to
 packaging, handling and shipment, and customer returns, refunds, and
adjustments related to Amazon Fulfillment Units. We will determine whether a
customer will receive a refund, adjustment or replacement for any Amazon
Fulfillment Unit and we will require you to reimburse us where we determine
you have responsibility in accordance with the Agreement (including these FBA
Service Terms and the Program Policies). We will promptly notify you when you
are responsible for a customer refund. You may appeal if you disagree with our
finding within thirty (30) days after our notification, in addition to your right to
request that Units be returned to you under Section F-7.1. Except as provided in
this Section F-S regarding any Amazon Fulfillment Units, customer service will
be handled in accordance with your Seller Agreement.

F-8.3 In situations relating to Amazon Fulfillment Units where the wrong item
was delivered or the item was damaged or lost or is missing, unless we
determine that the basis for such request is caused by you or any of your
employees, agents, or contractors, we will, at our option: (a) for any Amazon
Fulfillment Unit, (I) ship a replacement Unit to the customer and reimburse you
in accordance with the FBA Guidelines for the replacement Unit, or (ii) process a
refund to the customer and reimburse you in accordance with the FBA
Guidelines for the Unit; or (b) for any Multi-Channel Fulfillment Unit, reimburse
you in accordance with the FBA Guidelines for the Unit (and you will, at our
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 request, provide us a valid tax invoice for the compensation paid to you). Any
 customer refund will be processed in accordance with the Selling on Amazon
 and the Transaction Processing Service Terms (if the Elected Country for a
 Service is the United States). Notwithstanding the Selling on Amazon Service
 Terms, we will be entitled to retain the applicable fees payable to us under the
 Selling on Amazon Service Terms and these FBA Service Terms, respectively.
 Except as expressly provided in this Section F-8.3, you will be responsible for all
 costs associated with any replacement or return.

 F-8.4 If we provide a replacement Unit or refund as described in Section F-8.3 to
 a customer and that customer returns the original Unit to us, we will be entitled
 to dispose of the Unit pursuant to Section F-7, or, if it is a Seltable Unit, we may,
 at our option, place such Unit back into your inventory in accordance with
 Section F-6. If we do put a Unit back into your inventory, you will reimburse us
 for the applicable Replacement Value (as described in the FBA Guidelines) of the
 returned Unit. Any replacement Unit shipped by us under these FBA Service
 Terms wilt be deemed to be, and will be treated in the same manner as, an
 order and sale of such Unit from you to the customer via the applicable Amazon
 Site or Service in accordance with, and subject to, the terms and conditions of
 this Agreement and your Seller Agreement.


 F-9 Compensation for FulfilLment Services


 F-9.1 Handling and Storage Fees. You will pay us the applicable fees described
 in the applicable Fulfillment by Amazon Fee Schedue. You will be charged the
 Storage Fees beginning on the day (up to midnight) that the Unit arrives at a
 fulfillment center and is available for fulfillment by Amazon (or in the case of
 any Unsuitable Unit, the arrival day (up to midnight)), until the earlier of: (a) the
 day (up to midnight) we receive a valid customer order for such product or a
 request from you to return or dispose of the Unit; or (b) the day (up to
 midnight) we actually ship the Unit to your designated return location or
 dispose of the Unit.


F-9.2 Shipping and Gift Wrap. For any Amazon Fulfillment Units we will
determine the amounts charged to the customer for shipping and gift wrap
services for the Units that we fulfill through the FBA Program. As between you
and us, these charges wilt be your charges to the customer, and we will report
them to you. We will charge you (and you will pay us) a fee equal to the amount
of such charges to the customer. In the case of shipments of Units sold through
the Amazon Site that qualify for the “Free Shipping” promotion, the amounts
charged to the customer for shipping the Selling on Amazon Units that Amazon
fulfills will first be charged to the customer and will next be deducted from the
total charges to the customer as your promotion and Amazon will not charge
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 you the fee described above. If you ship Units to us using the shipping rates that
 we may make available pursuant to Section F-3.3, you will reimburse us for the
 actual amounts charged to us by the applicable carrier for such shipments.


 F-9.3 Proceeds. We may as appropriate keep part of or all proceeds of any Units
 that we are entitled to dispose of pursuant to F-7 above, or to which title
 transfers, including returned, damaged, or abandoned Units. You will have no
 security interest, lien, or other claim to the proceeds that we receive in
 connection with the sate, fulfillment, and/or shipment of these Units.


 F-b   Indemnity


 In addition to your obligations under Section 6 of the General Terms of this
 Agreement, you also agree to indemnify, defend, and hold harmless us, our
 Affiliates, and our and their respective officers, directors, employees,
 representatives, and agents against any Claim that arises from or relates to: (a)
 the Units (whether or not title has transferred to us, and inctuding any Unit that
 we identify as yours pursuant to Section F-4), including any personal injury,
 death, or property damage; (b) any of Your Taxes or the collection, payment, or
 failure to collect or pay Your Taxes; and, if applicable (c) any sales, use, value
 added, personal property, gross receipts, excise, franchise, business, or other
 taxes or fees, or any customs, duties, or similar assessments (including penalties,
 fines, or interest on any of the foregoing) imposed by any government or other
 taxing authority in connection with the shipment of Foreign-Eligible Products to
 Foreign Addresses (collectively, “Foreign Shipment Taxes”).

 F-il Release


You, on behalf of yourself and any successors, subsidiaries, Affiliates, officers,
directors, shareholders, employees, assigns, and any other person or entity
claiming by, through, under, or in concert with them (collectively, the
“Releasing Parties”), irrevocably acknowledge full and complete satisfaction of
and unconditionally and irrevocably release and forever fully discharge Amazon
and each of our Affiliates, and any and all of our and their predecessors,
successors, and Affiliates, past and present, as welt as each of our and their
partners, officers, directors, shareholders, agents, employees, representatives,
attorneys, and assigns, past and present, and each of them and all Persons
acting by, through, under, or in concert with any of them (collectively, the
“Released Parties”), from any and all claims, obligations, demands, causes of
action, suits, damages, tosses, debts, or rights of any kind or nature, whether
known or unknown, suspected or unsuspected, absolute or contingent, accrued
or unaccrued, determined or speculative (collectively, “Losses”) which the
Releasing Parties now own or hold or at any time have owned or held or in the
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 future may hoLd or own against the Released Parties, or any of them, arising out
 of, resulting from, or in any way related to the shipment, export, or delivery of
 Your Products to Foreign Addresses, including any tax registration or collection
 obligations. You, on behalf of yourself and all other ReLeasing Parties, recognize
 that you, and each of them, may have some Losses, whether in tort, product
 Liability, contract, warranty, or otherwise, against the Released Parties of which
 you, or any of them, are totaLly unaware and unsuspecting, or which may arise
 or accrue after the date you register for or use FBA, which the Releasing Parties
 are giving up by agreeing to these FBA Service Terms. It is your intention in
 agreeing to these FBA Service Terms that these FBA Service Terms wilL deprive
 the Releasing Parties of each and all such Losses and prevent the Releasing
 Party from asserting any such Losses against the Released Parties, or any of
 them. In addition to the foregoing, you acknowledge, on behalf of yourself and
 all other Releasing Parties that you are familiar with Section 9542 of the Civil
 Code of the State of California, as follows:


 “A general release does not extend to claims that the creditor or releasing
 party does not know or suspect to exist in his or her favor at the time of
 executing the release and that, if known by him or her, would have
 materially affected his or her settlement with the debtor or released party.”


 You, on behalf of yourself and all other Releasing Parties, expressly waive and
 relinquish any rights that you had or may have under Section 9 542 of the Civil
Code of the State of California or any similar provision of the law of any other
jurisdiction, to the full extent that you may lawfully waive all such rights
 pertaining to the subject matter of these FBA Service Terms.


 F-12 Disclaimer


IN ADDITION TO THE DISCLAIMER IN SECTION 7 OF THE GENERAL TERMS OF
THIS AGREEMENT, WE DISCLAIM ANY DUTIES OF A BAILEE OR
WAREHOUSEMAN, AND YOU WAIVE ALL RIGHTS AND REMEDIES OF A BAILOR
(WHETHER ARISING UNDER COMMON LAW OR STATUTE OR OTHERWISE),
RELATED TO OR ARISING OUT OF ANY POSSESSION, STORAGE, OR SHIPMENT
OF YOUR PRODUCTS BY US OR OUR AFFILIATES OR ANY OF OUR OR THEIR
CONTRACTORS OR AGENTS.


F-13 Effect of Termination


Your termination rights are set forth in Section 3 of this Agreement. Following
any termination of the Agreement or these FBA Service Terms in connection
with a particular Elected Country, we will, as directed by you, return to you or
dispose of the Units held in that Elected Country as provided in Section F-7. If
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 you fail to direct us to return or dispose of the Units within fourteen (14) days
 (or as otherwise specified in the applicable Program Policies) after termination,
 then we may elect to return and/or dispose of the Units in whole or in part, as
 provided in Section F-7, and you agree to such actions. Upon any termination of
 these FBA Service Terms in connection with a particular Elected Country, all
 rights and obligations of the parties under these FBA Service Terms in
 connection with such Elected Country will be extinguished, except that the
 rights and obligations of the parties under Sections F-i,F-2,F-3,F-4,F-5,F-6,
 E1,E,f9, F-i 1, F-i 2, and F-i 3 with respect to Units received or stored by
 Amazon as of the date of termination wilt survive the termination.


 F-14 Tax Matters


 You understand and acknowledge that storing Units at fulfillment centers may
 create tax nexus for you in any country, state, province, or other localities in
 which your Units are stored, and you wilt be solely responsible for any taxes
 owed as a result of such storage. If any Foreign Shipment Taxes or Your Taxes
 are assessed against us as a result of performing services for you in connection
 with the FBA Program or otherwise pursuant to these FBA Service Terms, you
 wilt be responsible for such Foreign Shipment Taxes and Your Taxes and you wilL
 indemnify and hold Amazon harmless from such Foreign Shipment Taxes and
 Your Taxes as provided in Section F-b of these FBA Service Terms.


 F-15 Additional Representation


 In addition to your representations and warranties in Section 5 of the General
 Terms of this Agreement, you represent and warrant to us that: (a) you have
 valid legal title to all Units and all necessary rights to distribute the Units and to
 perform under these FBA Service Terms; (b) you wilt deliver alt Units to us in
 new condition (or in such condition otherwise described by you in the applicable
Your Product listing) and in a merchantable condition; (c) all Units and their
packaging will comply with all applicable marking, labeling, and other
requirements required by Law; (d) no Unit is or will be produced or
manufactured, in whole or in part, by child labor or by convict or forced labor;
(e) you and all of your subcontractors, agents, and suppliers involved in
producing or delivering Units will strictly adhere to all applicable Laws of the
Elected Country, its territories, and all other countries where Units are produced
or delivered, regarding the operation of their facilities and their business and
labor practices, including working conditions, wages, hours, and minimum ages
of workers; and (f) that all Foreign-Eligible Products (i) can be lawfully exported
from Canada, Mexico, or the United States, as applicable, without any license or
other authorization; and (ii) can be lawfully imported into, and comply with all
applicable Laws of, any eligible country.
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  FBA Definitions


  “Amazon Fulfillment Units” means Units fulfilled using FBA that are sold
  through an Amazon Site. For avoidance of doubt, if you have successfully
  registered for or used both the FBA and Selling on Amazon Services, then the
  term “Amazon Fulfillment Units” and the defined term “Amazon Fulfilled
  Products” in the Selling on Amazon Service Terms both refer to the same items.


 “FBA Excluded Product” means any Unit that is an Excluded Product or is
 otherwise prohibited by the applicable Program Policies.

 “Foreign Address” means (a) if the Elected Country is the United States, any
 mailing address that is not (i) within the fifty states of the United States or
 Puerto Rico, or (ii) an APO/FPO address; and (b) if the Elected Country is not the
 United States, any mailing address that is not within the Elected Country.


 “Fulfillment Request” means a request that you submit to us (in accordance
 with the standard methods for submission prescribed by us) to fulfill one or
 more Multi-Channel Fulfillment Units.


 “Multi-Channel Fulfillment Units” has the meaning in Section F-2.


 “Sellable Unit” means a Unit that is not an UnsuitabLe Unit.


 “Seller Agreement” means the Selling on Amazon Service Terms, the
 Merchants@ Program Agreement, the Marketplace Participation Agreement,
 any successor to any of these agreements, or any other similar agreement (as
 determined by Amazon) between you and us that permits you to offer products
 and services via a particular Amazon Site.

 “Shipping Information” means with respect to any purchased Unit(s), the
 following information: the name of the recipient, the shipping address, the
 quantity of Units to be shipped, and any other shipping-related information we
 may reasonably request.

 “Unit” means a unit of Your Product that you deliver to Amazon in connection
 with the FBA Program.

 “Unsuitable Unit” means a Unit: (a) that is defective, damaged, unfit for a
 particular purpose, or lacking required label(s); (b) the labels for which were not
 properly registered with Amazon before shipment or do not match the product
 that was registered; (c) that is an FBA Excluded Product or does not comply with
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  the Agreement (incLuding applicable Service Terms and Program Policies); (d)
  that Amazon determines is unsetlable or unfulfillable; or (e) that Amazon
  determines is otherwise unsuitable.


  Amazon Advertising Service Terms


  The Amazon Advertising Service Terms govern your use of Amazon Advertising,
 a Service that allows you to advertise your products. The Amazon Advertising
 Service Terms apply to your use of the Ad Services.


 Your use of the Ad Services (as defined in the Amazon Advertising Agreement) is
 governed by the Amazon Advertising Agreement. You accept the Amazon
 Advertising Agreement, which may be updated from time to time by Amazon in
 accordance with its terms. The Amazon Advertising Agreement is available at
 https://advertising.amazon.com/terms. In the event of any conflict between the
 General Terms or Program Policies and the Amazon Advertising Agreement with
 respect to the Ad Services, the Amazon Advertising Agreement will prevail to
 the extent of the conflict. If the Amazon Advertising Agreement is deemed
 unlawful, void, or for any reason unenforceable, then the General Terms will
 govern your access to and use of the Ad Services.


 Transaction Processing Service Terms


 BY REGISTERING FOR OR USING ANY SERVICE OTHER THAN AMAZON
 ADVERTISING FOR WHICH THE ELECTED COUNTRY IS THE UNITED STATES,
 YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE
 TO BE BOUND BY THESE TRANSACTION PROCESSING SERVICE TERMS FOR
 THAT SERVICE. NOTWITHSTANDING THE FOREGOING, IF A SEPARATE
 AGREEMENT GOVERNS THE OFFER, SALE OR FULFILLMENT OF YOUR
 PRODUCTS ON THE US AMAZON SITE, THE TERMS OF THAT AGREEMENT
WILL CONTINUE TO GOVERN THE PROCESSING OF YOUR TRANSACTIONS TO
THE EXTENT DESCRIBED IN THAT AGREEMENT.


P-i Payments Processing Agency Appointment


For noninvoiced orders, you authorize Amazon Payments, Inc. to act as your
agent for purposes of processing payments, refunds and adjustments for Your
Transactions, receiving and holding Sales Proceeds on your behalf, remitting
Sales Proceeds to Your Bank Account, charging your Credit Card, and paying
Amazon and its Affiliates amounts you owe in accordance with this Agreement
or other agreements you may have with Amazon Affiliates. For invoiced orders,
you authorize: (a) Amazon Capital Services, Inc. to act as your agent for
purposes of processing payments, refunds and adjustments for Your
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 Transactions, and receiving and holding Sales Proceeds on your behalf; and (b)
 Amazon.com Services LLC to act as your agent for purposes of remitting Sales
 Proceeds to Your Bank Account, charging your Credit Card, and paying Amazon
 and its Affiliates amounts you owe in accordance with this Agreement or other
 agreements you may have with Amazon Affiliates. Amazon Payments, Inc.,
 Amazon Capital Services, Inc., and Amazon.com Services LLC are each an
 “Amazon Payments Agent”. The applicable Amazon Payments Agents provide
 the services described in these Transaction Processing Service Terms and the
 related services described in Sections 5-1.4, S-2.2, S-5, and F-8.3 of the
 Agreement (collectively, the “Transaction Processing Services”).


 When a buyer instructs us to pay you, you agree that the buyer authorizes and
 orders us to commit the buyer’s payment (Less any applicable fees or other
 amounts we may collect under this Agreement) to you. You agree that buyers
 satisfy their obligations to you for Your Transactions when we receive the Sales
 Proceeds. We will remit funds to you in accordance with this Agreement.


 P-2 Remittance


 Subject to Section 2 of the General Terms of this Agreement, the applicable
 Amazon Payments Agents will remit funds to you in accordance with Section 5-
 5 of the Agreement and these Transaction Processing Service Terms. Each
applicable Amazon Payments Agent’s obligation to remit funds collected or
received by it or otherwise credited to your available balance in connection with
Your Transactions is limited to funds in your available balance that have become
available in accordance with this Agreement less amounts owed to Amazon and
any taxes that Amazon automatically calculates, collects and remits to a tax
authority according to applicable law, as specified in the Tax Policies, subject to
chargeback or reversal or withheld for anticipated claims in accordance with this
Agreement. Without limiting Amazon’s rights to collect any amounts you owe,
the applicable Amazon Payments Agent’s receipt of Sales Proceeds or crediting
of Sales Proceeds to your available balance discharges your obligation to pay
applicable fees and other amounts under this Agreement to the extent the Sales
Proceeds received or credited equal or exceed the fees and other amounts you
owe and the Sales Proceeds are applied to the payment of those fees and
amounts.


P-3 Your Funds


Your Sales Proceeds will be held in an account with the applicable Amazon
Payments Agent (a “Setter Account”) and will represent an unsecured claim
against that Amazon Payments Agent. Your Sales Proceeds are not insured by
the Federal Deposit Insurance Corporation, nor do you have any right or
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 entitlement to collect Sates Proceeds directly from any customer. Prior to
 disbursing funds to you, an Amazon Payments Agent may combine Sales
 Proceeds held with the funds of other users of the Services, invest them, or use
 them for other purposes permitted by applicable Laws. You will not receive
 interest or any other earnings on any Sate Proceeds. To the extent required by
 applicable Laws, an Amazon Payments Agent will not use any funds held on
 your behalf for its corporate purposes, will not voluntarily make such funds
 available to its creditors in the event of bankruptcy or for any other purpose,
 and will not knowingly permit its creditors to attach such funds.


 P-4 Verification


 We may at any time require you to provide any financial, business or personal
 information we request to verify your identity. Providing accurate identity
 verification, upon request, is a condition precedent to further disbursements
 following account suspension or termination. You authorize us to obtain from
 time to time consumer credit reports to establish or update your Seller Account
 or in the event of a dispute relating to this Agreement or the activity under your
 Seller Account. You agree to update all Seller Account information promptly
 upon any change. The Amazon Payments Privacy Notice applies to transactions
 processed by Amazon Payments, Inc. This provision survives termination of the
 Agreement.

 P-5 Dormant Accounts


 If there is no activity (as determined by us) in connection with your Seller
 Account for the period of time set forth in applicable unclaimed property laws
 and we hold Sales Proceeds on your behalf, we wilt notify you by means
 designated by us and provide you the option of keeping your Seller Account
 open and maintaining the Sales Proceeds in your Seller Account. If you do not
 respond to our notice(s) within the time period we specify, we will send the
 Sales Proceeds in your Seller Account to your state of residency, as determined
 by us based on the information in your Seller Account. If we are unable to
 determine your state of residency or your Seller Account is associated with a
 foreign country, your funds may be sent to the State of Delaware.


 SelLing Partner API Terms


API-i Description of the Setting Partner APIs


The ‘Selling Partner APIs” enable your systems to interface with certain features
or functionality we make available to you. These Selling Partner API Terms
concern and apply only to your use of the Selling Partner APIs unless specifically
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 provided otherwise. Under the Selling Partner API Terms, you may authorize
 parties who (a) develop Applications to support you using the Selling Partner
 APIs or the API Materials, (b) have registered with us as Developers, and (c) who
 have agreed to the Marketplace Developer Agreement (‘Developers”) to access
 Confidential Information and Your Materials via the Selling Partner APIs
 provided, in each case, that where Confidential Information is disclosed to
 Developers, you shall remain Liable for the acts or omissions of such Developers
 as if such acts or omissions were your own. If you wish to use the Selling Partner
 APIs directLy or develop software or a website that interfaces with the Selling
 Partner APIs or the API Materials (an “Application”), you must register as a
 Developer.


 We may make available Selling Partner APIs (including the Marketplace Web
 Services APIs) and software, data, text, audio, video, images, or other content
 we make available in connection with the Selling Partner APIs, including related
 documentation, software libraries, and other supporting materials, regardless of
 format (collectively the “API Materials”) that permit your systems to interface
 with certain features or functionality available to you. You may authorize
  Developers to access Confidential Information and Your Materials via the Selling
 Partner APIs solely for the purpose of supporting your business on Amazon and
 provided, in each case, that where Confidential Information is disclosed to
 Developers, you shall remain liable for the acts or omissions of such Developers
 as if such act or omissions were your own. All terms and conditions applicable to
 the SeLling Partner APIs and the API Materials in this Agreement are soLely
 between you and us. API Materials that are public or open source software
 (“Public Software”) may be provided to you under a separate License, in which
 case, notwithstanding any other provision of this Agreement, that license will
 govern your use of those API Materials. For the avoidance of doubt, except to
 the extent expressly prohibited by the license governing any API Materials that
 are Public Software, alt of the non-License provisions of this Agreement will
 apply.

 API-2 License and Related Requirements


 API-2.1 Generally.


We grant you a limited, revocable, non-exclusive, non-sublicenseabLe,
nontransferable License during the term of the Agreement to allow Developers
to access and use Confidential Information and Your Materials through the
Selling Partner APIs and the API Materials solely in support of your use of the
Services covered by this Agreement. As between you and us, we or our Licensors
own aLl right, title, and interest in and to the Confidential Information, the
Selling Partner APIs, the API Materials, any technical and operational
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  specifications, security protocols and other documentation or policies provided
  or made available by us with respect to the Selling Partner APIs or the API
  Materials (the “Selling Partner API Specifications”), and our internal data center
 facilities, servers, networking equipment, and host software systems that are
 within our or their reasonable control and are used to provide the Selling
 Partner APIs or the API Materials (the “Amazon Network”).

 API-2.2 License Restrictions.


 You may authorize Developers to access Confidential Information and Your
 Materials through the Selling Partner APIs and the API Materials only through
 APIs documented and communicated by us in accordance with any applicable
 Selling Partner API Specifications. You may not authorize any other party to do
  any of the following with the Confidential Information, the Selling Partner APIs
  and the API Materials: (a) reverse engineer, decompile, or disassemble them; (b)
  modify or create derivative works based upon them in whole or in part; (c)
 distribute copies of them; (d) remove any proprietary notices or labels on them;
 (e) use any Public Software in any manner that requires, pursuant to the license
 applicable to such Public Software, that the Confidential Information, the
 Selling Partner APIs and the API Materials be disclosed, licensed, distributed, or
 otherwise made available to anyone; (f) resell, lease, rent, transfer, sublicense,
 or otherwise transfer rights to them; (g) access or use them in a way intended to
 avoid incurring any applicable fees or exceeding usage limits or quotas; (h)
 access or use them for any purpose unrelated to your use of Services; or (i)
 access or use them for fraudulent or illegal activities or activities that violate
 our policies or are otherwise harmful to us or any third parties. The limitations
 regarding Data Use in Section 1 1 above apply to any information you disclose or
 receive by the direct or indirect use of the Selling Partner APIs.

 API-2.3 No License for Direct Access.


For the avoidance of doubt, these Selling Partner API Terms do not provide you
a license to directly access or use the Selling Partner APIs, or install, copy, use,
or distribute API Materials. Direct use of the Selling Partner APIs may only be
licensed to Developers.


API-2.4 Account Identifiers and CredentiaLs.


You must use the account IDs and any unique public key/private key pair issued
by us to provide access to your data via the Selling Partner APIs (“Account
Identifiers and Credentials”) in accordance with these Selling Partner API Terms
to authorize Developers to access the Selling Partner APIs on your behalf. You
may only authorize access to Confidential Information and Your Materials via
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  the Selling Partner APIs in the way that we prescribe. Your Account Identifiers
  and Credentials are for your personal use only and you must maintain their
  secrecy and security. You are soLely responsible for alt activities that occur using
  your Account Identifiers and Credentials, regardless of whether the activities are
  undertaken by you or a third party (including your employees, contractors, or
  agents). You wilt provide us with notice immediately if you believe an
  unauthorized third party may be using your Account Identifiers and Credentials
  or if your Account Identifiers and Credentials are lost or stolen. We are not
  responsible for unauthorized use of your Account Identifiers and Credentials.


 API-2.5 Security of Your Materials and Confidential Information.


  You are solely responsible for authorizing others to access the Selling Partner
  APIs on your behalf and taking your own steps to maintain appropriate security,
  protection, and backup of the Confidential Information and Your Materials
  processed pursuant to your access to the Selling Partner APIs and the API
  Materials, including any Confidential Information you have disclosed to
 Developers in accordance with this Agreement. We are not responsible for any
 unauthorized access to, alteration of, or deletion, destruction, damage, loss, or
 failure to store any of the Confidential Information or Your Materials in
 connection with the Selling Partner APIs (including as a result of your or any
 third party’s errors, acts, or omissions). If you believe (acting reasonably) that a
 personal data breach has occurred in relation to any customer personal data in
 your possession or otherwise under your control (including in the possession of
 a Developer), you shalt immediately notify Amazon of such personal data
 breach (in sufficient detail) for information purposes, and promptly take any
 actions (or require a Developer take such actions, if relevant) as applicable to
 you under data privacy Laws.

API-3 Termination


API-3.1 Termination of Your Access to the Selling Partner APIs and the API
Materials.


Without limiting the parties’ rights and obligations under this Agreement, the
Amazon Marketplace Developer Agreement, or the Amazon Marketplace API
License Agreement, we may limit, suspend, or terminate your access to the
Selling Partner APIs and the API Materials for convenience with 30 days’ notice.
We may terminate immediately if (a) we determine that you have materially
breached this Agreement and failed to cure within 7 days of a cure notice; (b)
you or your account have been engaged in deceptive, fraudulent, or illegal
activity; or (c) your use of the Selling Partner APIs and the API Materials may
harm our customers.
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 Upon any suspension or termination of your access to the Setting Partner APIs
 and the API Materials, you will immediately cease authorizing others to use the
 Selling Partner APIs and the API Materials. Upon any termination of your access
 to the Selling Partner APIs and the API Materials, you will also immediately
 destroy all API Materials. Upon any suspension or termination of your access to
 the Setting Partner APIs and the API Materials, we may cause your Account
 Identifiers and Credentials to cease to be recognized by the Amazon Network
 for the purposes of the Selling Partner APIs and the API Materials.


 API-4 Modifications to the Selling Partner APIs and the API MateriaLs


 We may change or discontinue the Selling Partner APIs or the API Materials
 (including by changing or removing features or functionality of the Selling
 Partner APIs or the API Materials) from time to time. For any material changes
 that will negatively affect your business, we will provide notice under Section
 18.


 API-5 DiscLaimers


 THE SELLING PARTNER APIS AND THE API MATERIALS ARE PROVIDED “AS IS”.
 WE AND OUR AFFILIATE COMPANIES AND LICENSORS MAKE NO
 REPRESENTATIONS OR WARRANTIES OF ANY KIND, WHETHER EXPRESS,
 IMPLIED, STATUTORY OR OTHERWISE REGARDING THE SELLING PARTNER APIS
 OR THE API MATERIALS, INCLUDING ANY WARRANTY THAT THE SELLING
 PARTNER APIS OR THE API MATERIALS WILL BE UNINTERRUPTED, ERROR FREE,
 OR FREE OF HARMFUL COMPONENTS, OR THAT ANY MATERIALS OR DATA YOU
 ACCESS, USE, STORE, RETRIEVE, OR TRANSMIT IN CONNECTION WITH THE
 SELLING PARTNER APIS, INCLUDING YOUR MATERIALS, WILL BE SECURE OR
 NOT OTHERWISE LOST OR DAMAGED. EXCEPT TO THE EXTENT PROHIBITED BY
 LAW, WE AND OUR AFFILIATE COMPANIES AND LICENSORS DISCLAIM ALL
WARRANTIES, INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILITY,
SATISFACTORY QUALITY, FITNESS FOR A PARTICULAR PURPOSE, NON
INFRINGEMENT, OR QUIET ENJOYMENT, AND ANY WARRANTIES ARISING OUT
OF ANY COURSE OF DEALING OR USAGE OF TRADE. FURTHER, NEITHER WE
NOR ANY OF OUR AFFILIATE COMPANIES OR LICENSORS WILL BE
RESPONSIBLE FOR ANY COMPENSATION, REIMBURSEMENT, OR DAMAGES
ARISING IN CONNECTION WITH: (A) THE INABILITY TO USE THE SELLING
PARTNER APIS OR THE API MATERIALS FOR ANY REASON; (B) THE COST OF
PROCUREMENT OF SUBSTITUTE GOODS OR SERVICES; OR (C) ANY
INVESTMENTS, EXPENDITURES, OR COMMITMENTS BY YOU IN CONNECTION
WITH THIS AGREEMENT OR YOUR USE OF OR ACCESS TO THE SELLING
PARTNER APIS OR THE API MATERIALS.
            _________________,

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                                          PROOF OF SERVICE OF DOCUMENT


I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212


A true and correct copy of the foregoing document entitled (spec/j): Debtor’s Motion for an Order Authorizing Debtor
to Satisfy Pre-Petition Claims of Critical Vendor Amazon.Com Services, LLC Necessary for I)ebtor’s
Continued Business Operations; Declaration of Anthony Alcazar in Support Thereof will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

I TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
3/1/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Debtor’s Proposed Counsel: Michael Jay Berger michael.berger@bankruptcypower.com,
 iihid ii ph i ab inki tiptc po\Ll Lom in ichit.l bu gd a e. I in loi Uptd. Loin
U.S. Trustee: Katherine Bunker katc.hunkcr’o.v
United States Trustee (SV)      ustpregion 6.wh .ecfusdoj .gov


                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                       I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                        LI Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 3/1/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

1-lonorable Victoria Kaufman
United States Bankruptcy Court
Central District of’ California
2] 041 Burbank Boulevard. Suite 354 / Courtroom 301
Woodland Hills. CA 91367 United States Bankruptcy Court

                                                                                       LI Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 3/1/2024                      Peter Garza                                                      Is/Peter Garza
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the central District of California.


June 2012                                                                                           F 9013-3.1 .PROOF.SERVICE
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3. Served by Email:

U.S. Trustee:
Katherine Bunker
katc.bunkcr’a’usdoj_coy

SECURED CREDITORS:

8FIG Advance
Attn: Legal Dept.
I ega18fl g .com

Amazon Capital Services:
Attn: Lauren Dorsett & Michael Gearin
iaurcndorsctt:àdwt.com
inikc.gcariiVa)klgatcs.corn

Blue Bridge Financial
Attn: Amy Joy
ajo)Ijuchridcetmancial.com
LegaIi’hluchridge1inancial .com

Bluevine
Attn: Officer
porl ‘ublucvi ne. corn

Cedar Advance
Attn: Simon Cedar
si moticcdaradvance.corn


Corporation Service Company
SPRFiIingacscglobal.com; UCCSPREP@cscglobal.com

CT Corporation
uccfilingretu rn@wolterskluwer.com


Fasanara Securitisation S.A. Acting
infnorthdata.com

Financial Pacific Leasing
Attn: Allison Sweet
AS cet (1HnPac.corn

First Corporate Resolution
SPRS@FICOSO.COM

Huntington Valley Bank
Attn: Erin
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June 2012                                                                                           F 9013-3.1 .PROOF.SERVICE
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Mercury Capital
 a       in cad V.CO in

Metropolitan Capital Bank & Trust
AUn: Jeffrey Brown
rrabinthompsoncoburn.com ; J)vn(cthompsoncohurn.com

Parkside Funding Group LLC
Attn: Adriana Harris
i\dniana:anonasrecovery.coin

Partners Personnel Management Services, LLC
Attn: Cherly Canty
CCantv’aespererhoIdines.coin

Robert Reiser and Company
j]jipgeturn’a.\ olicrskluwcr.com


Sand Park Capital
Attn: Simon Cedar
simon’accdaradvance.corn

Sellers Funding
Attn: Officer
t)saroasellensli.Com; egal@sellersFi.com

Shopify Capital
Lgi’,bIuehridgcfinancial.com

Slope Advance
Attn: Ashish Jam
ash ish”[islope.com

Spartan Capital
Attn: Jason Gang
jjisonjason an g.eom

Stor RB One Limited
ucclilingret urn iv olierskluwer.com

US. Business Administration
Atm: Elan Levey
elan. Ievevausdoj .gp’




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20 LARGEST UNSECURED CREDITORS

Easy Post
Attn: Dustin Henrie
dhenricacasvposi.com

Facebook
Attn: Anthony Miller
/\flth()flv. Vl ii leitiiadiusis.con


Fleetcor Technologies Inc.
Attn: ()flicer
PartnerScrviccsIFlcetCor.coin: jowil1iamsivillamsandwilliams.corn

Greenberg Traurig
Attn: Reid 1-lockaday
hockadayj’agtla\\;.co1n

IRS
Attn: Officer
I rs.Uov.’.\ hsitc.IeIpdcsk’Ispcedvmail.com; robert.Ltextor(iirs.gov

Lyneer Staffying
Attn: Billing Dept.
hiIIing’4Ivnccr.cotn

Parker Group Inc.
Attn: Larry Nessenson, Esq.
lcsscnsonijafftandashcr.com


Ramp
Attn: Officer
COZnIflUflicationsQIrarflp.cofll; Support aramp.com


Jeeves
alcxi’nyjccyes.corn: iucioatryjccvcs.coin

Southern California Edison
Anthony Tarantino
1\nthonv.’[arantino’ãscc.com

UPS
Attn: Mary Kay
\‘1arvKav,l3aIIas iqorcom

We Pack it All
jesse.1onseca. el)ackittilcorfl
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California


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 Rapid Fulfillment LLC
 Attn: Adam Brumage
jri1jagc/ucoI lcctmoore.com


Frisbi
hil1in..t(i lrisbi.corri

Taboola
Attn: Fred Sampliner
fsarnpliner@sampliner.com nmnassianhatkoffiaw,corn


MN’FN
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Perpetua
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Uline
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Bakers Authority
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Attentive Mobile
(i\’l(’CRL.\l)l l-d nixonpcabody.coin

SoCal Gas
cuStO1flerSCr\’icC’asOcal11as.com

Republic Services
ccet’drepuhlicservices.com

ADDITIONAL CREDITORS:

ArcBest, Inc.
(lIOlt(1 iich.coiii

Old Dominion Freight Line, Inc.
Attn: Rusty Frazier
Rttst .tiaiicriodfl coin

TikTok Inc.
Attn: Ernely Andino
UShI Iineabvtcdancccom

Pawnee Leasing Corp.
BanIcruptc cpa\ nccIcasmL.com

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Taboola
Attn: Fred Sampliner
{fsampliner@sampliner.com”} nminassianhatkoffIaw.com

MNTN
legal ‘amountain .com

Perpetua
 jlliig:jperjelua.io

Uline
accounts. receivable’uuline.coni

Bakers Authority
VOfl i:hakersatuhority.coin


Attentive Mobile
(j\4( C RIAI)II cmnixpiipeaboth corn

SoCal Gas
C uslomerser\ ice     isocalgas.corn

Republic Services
cctpub1icservices.com

ADDITIONAL CREDITORS:

ArcBest, Inc.
d toil (larch corn

Old Dominion Freight Line, Inc.
Attn: Rusty Frazier
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TikTok Inc.
Attn: Emely Andino
iishittinu h tedancc.com

Pawnee Leasing Corp.
                     neeleasing.com




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December2012                                                                         F 9075-tl.APP.SHORT.NOTICE
